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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF LOUISIANA

   ANTHONY TELLIS and BRUCE CHARLES *                   JUDGE ELIZABETH E. FOOTE
   on behalf of themselves and all others similarly *   USMJ MARK L. HORNSBY
   situated                                         *
                                                    *
   VERSUS                                           *
                                                    *
   JAMES M. LEBLANC, Secretary                      *
   of the Louisiana Department of Public Safety *
   and Corrections, JERRY GOODWIN,                  *
   Warden of David Wade Correction Center           *   CIVIL ACTION
   COL. VINCENT COLEMAN;                            *
   DOCTOR GREGORY SEAL; DEPUTY                      *   NO.: 5:18-CV-00541-EEF-MLH
   WARDEN DEBORAH DAUZAT;                           *
   STEVE HAYDEN; AERIAL ROBINSON;                   *
   JOHNIE ADKINS; and THE                           *
   LOUISIANADEPARTMENT OF                           *
   PUBLIC SAFETYAND CORRECTIONS                     *




                          DEFENDANTS’ PHASE II POST-TRIAL BRIEF

          Defendants, the Louisiana Department of Public Safety and Corrections (sometimes

   “DPS&C or the “Department’); James M. Leblanc, in his official capacity as Secretary of the

   Louisiana Department of Public Safety and Corrections; Jerry Goodwin, in his official capacity as

   Warden of David Wade Correctional Center; Deborah Dauzat, in her official capacity as Assistant

   Warden of David Wade Correctional Center; and Vincent Coleman, Dr. Gregory Seal, Steve

   Hayden, Aerial Robinson, and Johnie Adkins (all in their official capacities as employees of the

   David Wade Correctional Center) (collectively the “Defendants”), respectfully submit their brief

   after conclusion of the Phase II trial as follows:
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   MAY IT PLEASE THE COURT:

      I.        THIS CASE IS LIMITED TO OFFENDERS IN RESTRICTIVE HOUSING

           The narrow focus of this case must be acknowledged.

           A.     Restrictive Housing Is Where an Offender Is Confined to a Cell for 22 or more
                  hours per day.

           This case is about Restrictive Housing, previously referred to as “extended lockdown,”

   where offenders are confined to a cell for 22 or more hours per day. Any housing that does not

   conform to that definition is not within the scope of this litigation.

           Paragraph 24 of the original complaint, paragraph 34 of Amended Complaint, and

   paragraph 36 of the Second Amended Complaint all state that:

           For the purposes of the litigation, extended lockdown refers to the confinement in
           a cell for 23 to 24 hours per day. Solitary confinement refers to the subset of
           extended lockdown in which a single prisoner is confined alone in a cell with no
           regular social interaction for 23 to 24 hours per day.

   [R. Doc. 1 at 8, ¶24; R. Doc. 154 at 11, ¶34; R. Doc. 316 at 12, ¶36] On September 20, 2021, the

   Court certified a class of all prisoners who are or will be subject to extended lockdown at DWCC.

   [R. Doc. 462 at 27-28] The Court’s Opinion after the Phase I trial found that extended lockdown

   refers to housing prisoners separately from the general population for twenty-two or more hours

   per day in a cell. [R. Doc. 641 at 8]

           With the adoption of IS-B-4, the term “extended lockdown” was changed to “Restrictive

   Housing.” [Ex. JR-1, at 6(U)] Specifically, IS-B-4 defines “Restrictive Housing” as:

           A placement that requires an offender to be confined to a cell at least 22 hours per
           day for the safe and secure operation of the facility.

   This definition is the same definition promulgated by the ACA. [Burns Trial 2 Tr. vol. VII at

   1608:24 - 1609:1] To her credit, Dr. Burns continues to use the same definition tied to offenders

   being confined to a cell at least 22 hours per day. [Id.] Dr. Burns agreed that an offender who is

                                                     1
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   out of his cell more than two hours a day is no longer in Restrictive Housing. [Burns Trial 2 Tr.

   vol. VII at 1609:2-8] Dr. Haney testified in his deposition prior to the Phase I trial that Restrictive

   Housing was defined as being confined to a cell for 22 to 23 hours a day. [Haney Trial 2 Tr. vol.

   X at 2282:23 - 2283:11] In his expert report for the Phase I trial, Dr. Haney defined Restrictive

   Housing as the placement of an individual in a cell for at least 22 hours per day. [Haney Trial 2

   Tr. vol. X at 2284:11-23]

          In the field of corrections, the term “Restrictive Housing” refers to housing where offenders

   are segregated from general population and confined to a cell for greater than or equal to 22 hours.

   Housing at DWCC that was referred to during the Phase I trial as “extended lockdown,”

   “disciplinary segregation,” or “preventative segregation” would (both then and now) be

   categorized as “Restrictive Housing.” [Upchurch Trial 2 Tr. vol. XII at 2703:8-11; Burns Trial 2

   Tr. vol. VII at 1608:20 - 1609:1; Haney Trial 2 Tr. vol. X at 2282:3 - 2287:6; Pacholke Trial 2 Tr.

   vol. III, 572:24 - 573:4; Goodwin Trial 2 Tr. vol. XI at 2502:11-16; JR-1 at 6] The use of

   Restrictive Housing allows for the freedoms, opportunities, and activities that inmates in general

   population are able to experience. [Upchurch Trial 2 Tr. vol. XII at 2784:5 - 2785:6]

          Any attempt by Plaintiffs to enlarge this case beyond Restrictive Housing must be rejected.

          B.      DPS&C and DWCC Have Reduced Reliance Upon Restrictive Housing

          Going back to at least 2016, DPS&C began ambitious work related to its statewide usage

   of Restrictive Housing. [Goodwin Trial 2 Tr. vol. XI at 2502:17- 2503:2] DPS&C began a two-

   pronged approach to this issue as follows: 1) seeking to reduce its usage of Restrictive Housing

   through the reduction (where possible) of Restrictive Housing (“Restrictive Housing reduction”);

   [J. Le Blanc Trial 2 Tr. vol. X at 2136:24 - 2137:3; Goodwin Trial 2 Tr. vol. XI at 2502:17- 2503:2;

   Thompson Trial 2 Tr. vol. XIII at 3003:4 - 3004:2] and 2) changing completely how DPS&C

   operates the Restrictive Housing areas it must maintain for stability and security of its staff
                                                     2
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   members, offender populations, and the public (“Restrictive Housing procedural changes”). [J. Le

   Blanc Trial 2 Tr. vol. X at 2140:17 - 2141:2; Goodwin Trial 2 Tr. vol. XI at 2517:1-18, 2524:9-

   25, 2539:15 - 2540:12, 2541:6 - 2549:1]

            Certain areas are no longer at issue in this case. In 2018, DWCC began its Restrictive

   Housing reduction efforts by converting N1 from a Restrictive Housing area to a medium custody

   housing area. When this case started, N1 was considered to be extended lockdown, i.e., Restrictive

   Housing. Now, it is stipulated 1 that offenders in N1 are medium custody and are out of their cells

   more than two hours a day. [Ex. JR-60, R. Doc. 669, at 4, ¶16; JR-24 at 1(A); Burns Trial 2 Tr.

   vol. VII at 1611:2-3; Coleman Trial 2 Tr. vol. I at 76:1-3; Kimball Tr. vol. I at 205:25 - 206:13]

   This change resulted in the reduction of 112 Restrictive Housing beds. [Goodwin Trial 2 Tr. vol.

   XI at 2507:15 - 2508:6; Burns Trial 2 Tr. vol. VII at 1611:15-19; J. Le Blanc Trial 2 Tr. vol. X at

   2159:9-17; Upchurch Trial 2 Tr. vol. XII at 2714:11-24; Thompson Trial 2 Tr. vol. XIII at 2862:5-

   12] A consequence of this change was that CCR was moved from N1D to N2D, eliminating 32

   more restrictive housing beds previously in N2D. 2 [Goodwin Trial 2 Tr. vol. XI at 2508:7-16]

            Offenders in N1 have televisions on the tier and are allowed possession of tablets.

   Offenders in N1have access to tablets which can be used to complete phone calls. [JR-60, R. Doc.

   669 at 4-5, ¶¶16, 22]

            Offenders in N1 are allowed the personal possessions allowed to prisoners in medium

   custody. Offenders in N1 have access to group programming. Offenders in N1 eat in the dining

   hall and are allowed to exercise two hours day on the yard (not in the secured recreation areas).



   1
     Stipulations are binding and conclusive. Christian Legal Soc. Chapter of the Univ. of Cal., Hastings Coll. of the L.
   v. Martinez, 561 U.S. 661, 676-78, 130 S. Ct. 2971, 2983 (2010). Stipulations of fact fairly entered into are controlling
   and conclusive, and courts are bound to enforce them. A. Duda & Sons Coop. Ass'n v. U.S., 504 F.2d 970, 975 (5th
   Cir. 1974); Mobil Expl. & Producing U.S., Inc. v. N.L.R.B., 200 F.3d 230, 234 (5th Cir. 1999); Jemison v. Falcon
   Drilling Co., 140 F.3d 1038 (5th Cir. 1998).
   2
     CCR is further discussed infra at 5.
                                                              3
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   [JR-60, R. Doc. 669 at 4, ¶16] Offenders in N1 also have access to a wide variety of programming.

   [Goodwin Trial 2 Tr. vol. XI at 2558:3 - 2563:7]

          In furtherance of working toward DPS&C’s Restrictive Housing reduction goal, on March

   31, 2021, DWCC created a Working Segregation classification for offenders to be housed in N2C.

   That unit began running in April 2022. [Goodwin Trial 2 Tr. vol. XI at 2567:8-12] While still a

   maximum-security housing area, the change in the conditions of N2C resulted in the conversion

   of 32 Restrictive Housing beds to 32 non-Restrictive Housing beds. [JR-60, R. Doc. 669, at 2-3,

   ¶¶4, 11; Upchurch Trial 2 Tr. vol. XII at 2718:9 - 2719:13, 2720:10-13; Goodwin Trial 2 Tr. vol.

   XI at 2550:18 - 2555:16, 2566:20 - 2567:7; JR-12, DWCC EPM 03-01-003 dated 3/31/2021;

   Pacholke Trial 2 Tr. vol. III at 593:10-14; Burns Trial 2 Tr. vol. VII at 1613:13-16; Thompson

   Trial 2 Tr. vol. XIII at 2862:13-23] It is further stipulated that offenders in working segregation,

   N2C, are out of their cells more than two hours a day. [Ex. JR-60, R. Doc. 669, at 3-4, ¶15]

          Offenders in Working Segregation are assigned that status for a determinate period of time,

   usually 45 to 90 days with a classification review at least every 90 days. [JR-60, R. Doc. 669 at 3-

   4, ¶15; JR-1 at 6(6)(W)(7); JR-12 at 1; Kimball Tr. vol. I at 208:9-19; Thompson Trial 2 Tr. vol.

   XIII at 2862:24 -2863:1]

          Offenders in Working Segregation have access to group programming held in the North

   Compound chapel. [JR-60, R. Doc. 669 at 3-4, ¶15; Sherman Trial 2 Tr. vol. II at 392:16-22;

   Pacholke Trial 2 Tr. vol. III at 593:15-19; Goodwin Trial 2 Tr. vol. XI at 2566:3-8]

          Offenders in Working Segregation are provided a minimum of two hours of exercise time

   outside of their cells on the yard seven days per week. [JR-60, R. Doc. 669 at 3-4, ¶15; Goodwin

   Trial 2 Tr. vol. XI at 2565:22- 2566:2] Offenders in Working Segregation are provided a minimum

   of 2 fifteen-minute phone calls per week. [JR-60, R. Doc. 669 at 5, ¶22; Goodwin Trial 2 Tr. vol.

   XII at 2637:3-6] Offenders in Working Segregation eat in the Chow Hall as opposed to in their
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cells. [JR-60, R. Doc. 669 at 3-4, ¶15; Goodwin Trial 2 Tr. vol. XI at 2565:19-21] Offenders in

Working Segregation are allowed to spend a maximum of $40 per week in the canteen. [JR-60, R.

Doc. 669 at 3-4, ¶15]

       Offenders in Working Segregation are evaluated monthly by a multidisciplinary board

consisting of the Unit Manager, a classification officer, and the mental health director or his

designee to determine an offender’s compliance with program requirements. [JR-12 at 2(G);

Kimball Tr. vol. II at 277:8 - 278:4; Pacholke Trial 2 Tr. vol. III at 580:14-18, 591:7 - 593:9]

       Since Phase I, offenders on N1 and N2C (Working Segregation) are allowed to use the

yard for recreation and eat in a cafeteria setting. [JR-60, R. Doc. 669 at 3-4, ¶¶15, 16]

       In furtherance of DWCC’s Restrictive Housing reduction efforts, offenders housed in N2D

tier are in a status known as closed cell restriction (“CCR”). [JR-60, R. Doc. 669 at 3, ¶12] CCR

is in N2D and consists of 16 beds. [Id.] CCR is not Restrictive Housing. [Pacholke Trial 2 Tr. vol.

III at 594:25 - 595:3; Goodwin Trial 2 Tr. vol. XI at 2587:21-23; Upchurch Trial 2 Tr. vol. XII at

2733:5-16, 2736:10-23] CCR offenders have their classification reviewed every 90 days.

[Goodwin Trial 2 Tr. vol. XI at 2594:19-23; JR-1 at 16(C)(4)(b); JR-11 at 11(VI)(4)(b)] Offenders

in CCR have access to contact visitation. [R. Doc. 669 at 5-6, ¶25; Belton Tr. vol. II at 443:21 -

445:12] Offenders CCR get three 30-minute phone calls a week. [JR-60, R. Doc. 669 at 5, ¶22;

Goodwin Trial 2 Tr. vol. XII at 2637:7-13]

       Offenders in N1, N2C, and N2D have access to televisions and radios. [R. Doc. 669 at 3-

4, 5, ¶¶15, 16; JR-26 at 9, Goodwin Trial 2 Tr. vol. XI at 2566:17, 2587:18 - 2588:2]

       Thus, offenders in N1, N2C, working segregation, and N2D, CCR, are no longer being

held in Restrictive Housing.

       DWCC also achieved its Restrictive Housing reduction goals by reducing the census in N3

and N4 by 128 through single bunking these buildings. [Ex. JR-60, R. Doc. 669, at 3, ¶10; Nail
                                                  5
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Trial 2 Tr. vol. I at 147:24 - 148:3; Pacholke Trial 2 Tr. vol. III at 610:8-17; Burns Trial 2 Tr. vol.

VII at 1609:9 - 1610:2, 1621:13-17; Haney Trial 2 Tr. vol. X at 2289:1-4; Thompson Trial 2 Tr.

vol. XIII at 2863:5-10] This change was the result of a request for a reduction of capacity made by

DWCC in October 2021. The Department granted the request in November 2021. DWCC achieved

this operational reduction by no later than April 2022. This resulted in the elimination of 128

Restrictive Housing Beds at DWCC. [JR-60, R. Doc. 669 at 3, ¶10; Goodwin Trial 2 Tr. vol. XI

at 2569:7 - 2571:19]

       DWCC also made further Restrictive Housing reduction efforts by receiving DPS&C

approval to eliminate 64 Restrictive Housing beds in N2A and B. [Burns Trial 2 Tr. vol. VII at

1621:18-19 (N2A is single bunked)]. This reduction will be achieved once DWCC is able to return

medium custody bed space in N1A and B to regular usage, which occurred after the Court’s fact

cutoff date. As of August of 2022, DWCC maintained all the cells in N1A and B for usage in

quarantine efforts to fight the COVID-19 pandemic as required by DPS&C’s pandemic mitigation

plan. [(quarantine fact) JR-60, R. Doc. 669 at 3, ¶14; Goodwin Trial 2 Tr. vol. XI at 2578:12-19]

As of February 1, 2023, N2A is completely single bunked and N2B had only four cells remaining

double bunked. [Goodwin Trial 2 Tr. vol. XI at 2571:1 - 2572:8 (response given to questioning by

the Court)]

       Since March 2020, DWCC has made significant achievements toward the Department of

Corrections’ goals of Restrictive Housing reduction and Restrictive Housing procedural changes.

[Goodwin Trial 2 Tr. vol. XI at 2541:6 - 2549:1 vol. XII, 2632:23 - 2633:8; Upchurch Trial 2 Tr.

vol. XII at 2785:7-10; J. LeBlanc vol. X at 2147:23-25, 2149:4-20.; Burns Trial 2 Tr. vol. VIII at

1719:15-17]

       The net effect of all of these changes is that the number of offenders in Restrictive Housing

at DWCC has decreased from 344 to 168. [Thompson Trial 2 Tr. vol. XIII at 2863:24 - 2864:4]
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Vera reported that Louisiana had the largest reduction in its use of Restrictive Housing of any

single jurisdiction that reported. [PR-Z-5 at 4] This case is now about the 168 offenders in

Restrictive Housing. The other housing areas that do not meet the definition of Restrictive Housing

are no longer at issue.

II.    THERE IS NO EIGHTH AMENDMENT VIOLATION BECAUSE THERE IS A
       GENUINE DEBATE WITHIN THE SCIENTIFIC COMMUNITY AS TO
       WHETHER RESTRICTIVE HOUSING CAUSES HARM

       To state an Eighth Amendment claim, a plaintiff must demonstrate “universal acceptance

by the medical community.” Gibson v. Collier, 920 F.3d 212, 220 (5th Cir. 2019). Universal

acceptance is not present when there is robust and substantial good faith disagreement dividing

respected members of the expert medical community. Id. Where a genuine debate exists within the

scientific community as to an issue, a deliberate indifference claim fails. Id.

       In Gibson, the plaintiff claimed that the policy of the Texas Department of Criminal Justice

(“TDCJ”) violated the Eighth Amendment because the policy refused to consider the possibility

of sex reassignment surgery. The Fifth Circuit affirmed summary judgment in favor of the TDCJ

that the policy was not cruel and unusual under the Eight Amendment and denied plaintiff’s request

for issuance of an injunction. The Fifth Circuit noted the difference of opinion within the medical

community as to whether sex reassignment surgery was necessary and effective. Much of the

medical opinion cited by the Fifth Circuit was not in the record of the case. Id. at 221-222. Indeed,

the only evidence in the record was the standards of care issued by the World Professional

Association for Transgender Health which provide that for many transgender people sex

reassignment surgery is essential and necessary. Id. at 218. That provision was not enough to

establish a standard of care or medical consensus where others dispute the necessity and

effectiveness of sex reassignment surgery. Id. at 222-223.



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        Recently, a similar issue arose in Louisiana. A transgender plaintiff argued that it was a

violation of the Eighth Amendment to deny her electrolysis and effeminate commissary products

to express her femineity through gender grooming, clothing, and pronoun use. The Defendants

filed a motion for summary judgment. On March 27, 2023, Judge Brian Jackson of the Middle

District of Louisiana granted summary judgment dismissing the plaintiff’s claims, relying in part

on Gibson. Clark v. LeBlanc et al., No. 19-512, 2023 WL 2655725 (M.D. La. Mar. 27, 2023).

Following Gibson, the district court noted that the court may take notice of the divergent medical

opinions outside the record. Id. at *10. The District Court concluded that there was a genuine

debate as to the medical necessity of surgery; thus, Plaintiff’s deliberate indifference claims failed.

Id. at *11. 3

        Applying the precedent of the Fifth Circuit in Gibson and relied on in Clark, there is no

violation of the Eighth Amendment here because the issue of whether Restrictive Housing causes

harm or increases mental illness is not settled and is subject to genuine scientific debate.

        It has not been proven that Restrictive Housing causes mental illness. [Thompson Trial 2

Tr. vol. XIV at 3080:24 - 3081:1] As one studies Restrictive Housing longitudinally using

standardized psychological instruments and comparison groups, the alleged effects of Restrictive

Housing become less and less clear. [Thompson Trial 2 Tr. vol. XIV at 3081:22 - 3082:8] The

more controlled scientifically designed studies show that prisoners adapt to the Restrictive

Housing environment over time. [Thompson Trial 2 Tr. vol. XIV at 3083:4-17] At best, the most

that can be said is that the scientific literature on whether Restrictive Housing causes harm is

inconclusive. [Thompson Trial 2 vol. XIV at 3080:17-23]




3
 Gibson remains the law of the Fifth Circuit even though the Ninth Circuit came to a different conclusion in Elmo v.
Corizon, Inc., 935 F.3d 757 (9th Cir. 2019).
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       The Colorado study examined Restrictive Housing over a year and found that inmates

accommodated to that environment. [Thompson Trial 1 Tr. vol. XVII at 4060:3-12] The Colorado

study is a valid study. [Thompson Trial 2 Tr. vol. XIV at 3084:6-16] Even Dr. Burns agreed that

the Colorado study is authoritative. [Burns Trial 1 Tr. Vol. VI at 1460:16-18]

       The meta-analysis undertaken by Morgan in 2016 found that the Colorado study met the

scientific rigor to be included within the meta-analysis. [Thompson Trial 2 Tr. vol. XIV at 3084:16-

18] The meta-analysis looking at all the valid studies in the area of Restrictive Housing found that

the more control groups and more standardized instruments used showed that mentally ill do not

worsen while in Restrictive Housing. [Thompson Trial 1 Tr. vol. XVII at 4061:1-20]

       The National Institute of Justice issued a report in 2016 called Restrictive Housing in the

U.S., Issues, Challenges, and Future Directions. [Burns Trial 1 Tr. vol. VI at 1463:16-25] The NIJ

paper concluded that there are two points of view and no consensus on whether Restrictive

Housing causes mental illness or harm. [Burns Trial 1 vol. VI at 1464:1-4] The NIJ paper

concluded by calling for additional studies. [Burns Trial 1 vol. VI at 1464:4-5]

       The Chadick study published in 2018 stated that the magnitude of harm caused by

Restrictive Housing had become a hotly contested issue. [Haney Trial 2 Tr. vol. X at 2309:19-21]

The Chadick study cited the Colorado study which the Chadick authors called the most

sophisticated study to date. [Haney Trial 2 Tr. vol. X at 2310:1-21] The Chadick study also stated

that controlled studies looking at longer periods of segregation have found no adverse effects on

individuals. [Haney Trial 2 Tr. vol. X at 2309:22-25] The Chadick study concluded that some

offenders in Restrictive Housing showed improvement compared to the general population.

[Haney Trial 2 Tr. vol. X at 2310:16-21] The Chadick study found that some inmates with mental

illness showed improvement with regard to their psychological functioning while in Restrictive

Housing. [Thompson Trial 2 Tr. vol. XIV at 3088:21-24; Haney Trial 2 Tr. vol. X at 2310:16-21]
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The Chadick study further stated that Restrictive Housing did not appear to produce debilitating

effects as argued by some. [Haney Trial 2 Tr. vol. X at 2313:8-10] Dr. Haney agreed that the

Chadick study is authoritative. [Haney Trial 2 Tr. vol. X at 2313:16-18] The conclusions of the

Chadick study are consistent with the conclusions of the Colorado study.

        In 2018, Walters published a paper called, Checking the Math, which took a different look

at the data from the Colorado study. [Thompson Trial 2 Tr. vol. XIV at 3089:15-24] Walters

concluded that inmates with mental illness were just as likely to experience severe psychological

deterioration in general population as they were in Restrictive Housing. 4 [Thompson Trial 2 Tr.

vol. XIV at 3089:25 - 3090:4] Walters’ results indicated that psychological deterioration in

mentally ill inmates had less to do with Restrictive Housing, as opposed to the overall incarceration

process. [Thompson Trial 2 Tr. vol. XIV at 3090:4-7]

        Finally, the Court should consider the Siennick study out of Florida published in November

of 2022. 5 That study studied 843 inmates between 2007 and 2015 using mental health professional

assessments of SMI and psychological functioning. Just like the Colorado study and the Chadick

study, the Siennick study also found no evidence that Restrictive Housing (referring to as ESC,

extended solitary confinement) had a more harmful impact on the mental health of inmates with

SMI; to the contrary, there was in fact evidence of beneficial changes in mental health functioning

and service during Restrictive Housing.

        These authorities which run from the Colorado study to the very recent Siennick study all

refute the suggestion that Restrictive Housing causes harm. At a minimum, there is an open issue



4
  This finding is consistent with the evidence presented as to offender DQ, discussed below. DQ experienced
psychological decompensation while in general population. He was admitted into treatment segregation and stabilized.
DQ is consistent with the science as related by Dr. Thompson.
5
  The Fifth Circuit in Gibson looked at scientific evidence outside the record to make its decision. For this reason,
Defendants respectfully suggest that the Court can and should consider the Siennick study offered as Defendants’
Proffer 10.
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which is subject to genuine debate. In light of the debate over the science, Defendants cannot be

found deliberately indifferent under the Eighth Amendment.

          The recent case of Imbraguglio v. LeBlanc, No. 22-18, 2023 WL 2601909 (M.D. La. Mar.

22, 2023) further supports the conclusion Defendants cannot be found deliberately indifferent as

to the use of Restrictive Housing. Imbraguglio complained that he had been held in solitary

confinement for seven years, including time at DWCC, 6 and that his excessive prolonged exposure

to solitary confinement caused him extreme mental health disabilities for which he was prescribed

various medications. While at LSP, he alleges he was only allowed to leave his cell for fifteen

minutes a day. The Court held that “long-term solitary confinement is not per se cruel and

unusual,” and that “confinement to a cell for 23 hours per day does not rise to the level of a

constitutional violation.” Id. at *8, 10. Courts in the Fifth Circuit have denied constitutional claims

where offenders were held in solitary confinement for nineteen years or longer. Id. at *11. The

Court found that the defendants were not deliberately indifferent to Imbraguglio because he was

actively being treated for the injuries (mental health disabilities) of which he complained. Id. at

*12.

          Defendants cannot be found deliberately indifferent because the issue is subject to genuine

debate within the scientific community, the long-term use of Restrictive Housing has been allowed

by legal precedent, and Defendants treat offenders with mental illnesses.

III.      THERE IS NO VIOLATION OF THE EIGHTH AMENDMENT BECAUSE THE
          USE OF RESTRICTIVE HOUSING IS NOT UNUSUAL

          The Fifth Circuit in Gibson noted that a prison violates the Eighth Amendment only if it

inflicts punishment that is both cruel and unusual. Gibson, 920 F.3d at 226. The Court then stated




6
    Warden Goodwin was a named defendant in the suit.
                                                        11
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that under a plain meaning of the term unusual, a prison policy cannot be unusual if it is widely

practiced in prisons across the country. Id.

         It is undisputed that Restrictive Housing is widely practiced in prisons across the country.

[Burns Trial 2 Tr. vol. VIII at 1718:14-16; Haney Trial 2 Tr. vol. X at 2302:19-21] Florida utilizes

a form of Restrictive Housing that looks very much like that at DWCC. [Burns Trial 2 Tr. vol.

VIII at 1731:15-17; DR-11] 7 The conditions addressed by the Fifth Circuit in the Dockery case

look very much like those at DWCC. Again, the claims in Dockery were dismissed in favor of the

defendants with no finding of liability. Dockery v. Hall, 443 F. Supp. 3d 726 (S.D. Miss. 2019),

aff’d sub nom, Dockery v. Cain, 7 F.4th 375 (5th Cir. 2022). Nationally, 3.8% of all prisoners are

housed in Restrictive Housing, based upon 39 reporting jurisdictions. [Haney Trial 2 Tr. vol. X at

2298:19-25]

         Since the vast majority of prisons throughout the country use Restrictive Housing,

Defendants’ use of restrictive housing cannot be found to be cruel and unusual in violation of the

Eighth Amendment.

IV.      LAW OF THE PLRA

         Before addressing Plaintiffs’ proposed remedies, the limitations of the Prison Litigation

Reform Act (the “PLRA”) must be considered.

         Prospective relief in any civil action with respect to prison conditions shall extend no

further than necessary to correct the violation of the Federal right of a particular plaintiff or

plaintiffs. 18 U.S.C. § 3626(a)(1)(A). A court shall not grant or approve any prospective relief

unless the court finds that such relief is narrowly drawn, extends no further than necessary to

correct the violation of the Federal right, and is the least intrusive means necessary to correct the


7
 Of course, the suit against Florida was dismissed with no finding of liability. Burns Trial 2 Tr. vol. VIII at 1731:1-
3.
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violation of the Federal right. Id. A court shall give substantial weight to any adverse impact on

public safety or the operation of a criminal justice system caused by the relief. Id.

        Narrow tailoring requires a fit between the remedy’s ends and the means chosen to

accomplish those ends. The scope of the remedy must be proportional to the scope of the violation,

and the order must extend no further than necessary to remedy the violation. The United States

Supreme Court has rejected remedial orders that unnecessarily reach out to improve prison

conditions other than those that violate the Constitution. Brown v. Plata, 563 U.S. 493, 531, 131

S. Ct. 1910, 1939-40 (2011). While federal courts can certainly enter injunctions to prevent Eighth

Amendment violations, they are not to micromanage state prisons. Barbee v. Collier, No. 22-

70011, 2022 WL 16860944, at *3 (5th Cir. Nov. 11, 2022), cert. denied, 143 S. Ct. 440 (2022);

Gates v. Cook, 376 F.3d 323, 338 (5th Cir. 2004); see also Bell v. Wolfish, 441 U.S. 520, 562, 99

S. Ct. 1861, 1886, 60 L. Ed. 2d 447 (1979). Under the PLRA, “plaintiffs are not entitled to the

most effective available remedy; they are entitled to a remedy that eliminates the constitutional

injury.” Ball v. LeBlanc, 792 F.3d 584, 599 (5th Cir. 2015).

V.      SPECIFIC RESPONSE TO PLAINTIFFS’ BRIEF AND PROPOSED REMEDIES

        Defendants now address each section of Plaintiffs’ brief and the proposed remedies.

     A. Conditions of Confinement and Discipline

        At DWCC, assignment of offenders to segregated housing, of which Restrictive

Housing is a subset, is limited to those circumstances which pose a direct threat to the safety

of people or a clear threat to the safe and secure operations of the facility. [JR-1 at 8(7)(A)(1);

JR-11 at 4(V)(A)(1)] DWCC considers the following nonexclusive situations: a) The

relationship between the threat the offender poses and the behaviors articulated during an

incident giving rise for the need for segregated housing; b) The impact segregated housing

may have on the medical and mental health conditions exhibited by the offender and the
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possible alternatives which may be available to compensate for such conditions; or c) A

defined list of alternatives which may be available to deal safely with the threat posed by the

offender other than segregated housing. [Id.; Thompson Trial 2 Tr. vol. XIII at 2897:8 - 2898:1]

       Offenders assigned to Restrictive Housing and/or maximum custody due to

disciplinary issues are housed only in N2 A and B tiers, and N3–N4. [JR-60, R. Doc. 669 at 2,

¶6]

       When an offender is placed in Restrictive Housing, he is afforded a phone call within

24-hours of that placement. [JR-60, R. Doc. 669 at 5, ¶23.; Pacholke Trial 2 Tr. vol. III at 579:5-

13; JR-1 at 12(7)(D)(9); JR-11 at 8 (9); Burns Trial 2 Tr. vol. VII at 1637:23 - 1638:7; Thompson

Trial 2 Tr. vol. XIII at 2898:9-14]

       Offenders undergo a mental health appraisal within 7-days of assignment to Restrictive

Housing. [JR-1 at 10(7)(B)(5); JR-11 at 5(V)(B)(5); Burgos Trial 2 Tr. vol. IV at 726:3 - 727:23;

Hayden Trial 2 Tr. vol. V at 1083:24 - 1084:8; Dauzat Tr. vol. VI at 1244:16-22; Burns Trial 2 Tr.

vol. VII at 1533:23-24, 1638:8-18; Robinson Trial 2 Tr. vol. IX at 2094:2-6]

       Offenders found guilty of major rules violations can be assigned to a restrictive

housing status known as “disciplinary segregation.” [JR-1 at 6(W)(1); JR-11 at 10(2)]

Disciplinary Segregation is “[a] maximum custody housing area, typically a cell, where an

offender is housed for a definitive period of time as a result of a sanction from a disciplinary

hearing.” [Id.] Disciplinary Segregation at DWCC is Restrictive Housing as defined in the field of

corrections.

       Disciplinary Segregation has a specific duration and can only be imposed after an offender

is found guilty of a rule violation pursuant to DPS&C’s disciplinary sanction matrix (the

“Disciplinary Matrix”). [JR-1 at 6; JR-11 at 10; JR-2, Disciplinary Sanction Matrix; Upchurch

Trial 2 Tr. vol. XII at 2737:3-17] To be clear, a particular rule violation must be severe enough
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such that the Disciplinary Matrix allows for the imposition of Disciplinary Segregation in the first

instance. [J. Le Blanc Trial 2 Tr. vol. X at 2139:12 - 2140:16] Plaintiffs largely do not challenge

this practice.

        Loss of yard is no longer being imposed as a sanction at DWCC. [Pacholke Trial 2 Tr. vol.

III at 578:21-24; Haney Trial 2 Tr. vol. X at 2219:14-20] Plaintiffs do not dispute that offenders

in Disciplinary and Preventative Segregation are receiving their yard time. [Pacholke Trial 2 Tr.

vol. III at 578:25 - 579:4]

        Offenders serving a Disciplinary Segregation sanction are reviewed at the end of their

sanction by the Segregation Review Board to determine if they can be returned to quarters,

stepped-down to Working Segregation or N1, or placed in Preventative Segregation. [JR-1 at

15(8)(B)(4); JR-11 at 10(2)(d); Belton Trial 2 Tr. vol. II at 440:14-19] As part of DWCC’s new

Restrictive Housing procedures, it has implemented a step-down system (using Working

Segregation and/or N1 where appropriate) to assist offenders moving to a less restrictive

environment, [Goodwin Trial 2 Tr. vol. XI at 2513:7-15, vol. XII 2680:2-12; Upchurch Trial 2 Tr.

vol. XII at 2721:10 - 2722:3; JR-1 at 15(8)(B)(4); Burns Trial 2 Tr. vol. VII at 1618:6-9

(acknowledgment of three-step step-down process at DWCC)]

        An offender is placed in Preventative Segregation if the offender’s “continued presence

in general population is a danger to the good order and discipline of the facility and/or whose

presence poses a danger to himself, other offenders, staff, or the general public” until the

offender modifies his behavior. [JR-1 at 6(W)(3); JR-11 at 10-11(3); Coleman Trial 2 Tr. vol. I

at 71:12-15; Upchurch Trial 2 Tr. vol. XII at 2737:17 - 2738:6]

        The key to progressing out of a Restrictive Housing status is demonstrating that the

offender is less of a threat to other offenders, the staff, and the public. [Kimball Trial 2 Tr.

vol. I at 243:2-6; Coleman Trial 2 Tr. vol. I at 124:14 - 126:11; Goodwin Trial 2 Tr. vol. XI at
                                                15
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2532:22 - 2536:25; Upchurch Trial 2 Tr. vol. XII at 2723:14 - 2724:8; JR-1 at 17(D)(1); JR-11 at

10-11(3); DR-20 (exemplars of LOC 3 and 4 individuals progressing out of Restrictive Housing)]

The Segregation Review Board (also referred to as the “Multidisciplinary Review Board”) 8

makes this determination after a review of the offender’s records at a live review hearing

where the offender is allowed to be heard on the issue. [JR-1 at 3(B)(4); JR-11 at 1(I)(C);

Coleman Trial 2 Tr. vol. I at 125:8-13; Kimball Tr. vol. II at 290:1-17; Goodwin Trial 2 Tr. vol.

XI at 2538:5-13; Upchurch Trial 2 Tr. vol. XII at 2753:25 - 2759:2; Thompson Trial 2 Tr. vol.

XIII at 2999:9 - 3000:9 (offenders understand how to progress)] The Segregation Review Board

then explains its rationale to the offender at the hearing. [Upchurch Trial 2 Tr. vol. XII at

2759:10 - 2760:14]

           DWCC’s Segregation Review Board is “[a] multidisciplinary team comprised of a

classification officer, mental health provider, and a security officer (Major or above) to consider

and make recommendations as to whether or not an offender in Protective Segregation,

Preventative Segregation, or restrictive housing may be moved to a less restrictive setting or

remain in restrictive housing.” [JR-1 at 3(B)4); JR-11 at 1(I)(C); Coleman Trial 2 Tr. vol. I at

44:17-21; Thompson Trial 2 Tr. vol. XIII at 2994:19-22] The addition of a mental health provider

is a change from previous practice.

           An offender in Preventative Segregation is reviewed by the Segregation Review Board

at a minimum of every 60-days. [JR-1 at 17(D)(3); JR-11 at 10-11(3)(b); Kimball Tr. vol. I at

224:2-4; Goodwin Trial 2 Tr. vol. XI at 2538:14-19] The Segregation Review Board considers

many factors, among them are: 1) if the offender received additional rule violations during his

confinement to Restrictive Housing; 2) if the offenders’ institutional records reveal that the



8
    This brief will use the terminology in JR-1, “Segregation Review Board” for consistency.
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offender has a pattern in engaging in certain behavior when moved from Restrictive Housing

(e.g., an offender engages in violent fights when in a less restrictive environment, resulting in

multiple Disciplinary Segregation sanctions); 3) the seriousness of an offender’s offense (e.g.,

an offender severely injured or killed another inmate). [Upchurch Trial 2 Tr. vol. XII at 2754:8

- 2755:6; Kimball Tr. vol. II at 294:3-21, 295:21 - 296:9; Coleman Trial 2 Tr. vol. I at 125:18 -

126:11] As such, the determination is individualized and an offender’s time in Restrictive

Housing is highly variable. [Kimball Tr. vol. I at 244:5-7, vol. II 272:5 – 273:2; Upchurch

Trial 2 Tr. vol. XII at 2748:5-17; Goodwin Trial 2 Tr. vol. XI at 2555:2 - 2556:18]

       Despite claiming that classification reviews at DWCC are not “meaningful”, Plaintiffs’

experts have never witnessed a classification review board at DWCC in either phase of the

litigation. [Pacholke Trial 2 Tr. vol. III at 579:14 - 580:3, 595:11 - 599:16] The evidence shows

that offenders regularly progress from Restrictive Housing on the South Compound to the general

population housing on the North Compound at DWCC. [Thompson Trial 2 Tr. vol. XIII at 2976:3-

7, 2998:25 - 2999:8; DR-18 & 19; Burns Trial 2 Tr. vol. VII at 1610:3-21] Plaintiffs’ security

expert, Mr. Pacholke did not conduct an independent review of individual records to determine if

he disagreed with the classification decisions of the Segregation Review Board. [Pacholke Trial 2

Tr. vol. III at 600:2-16]

       In 2022, DWCC installed phone carts that can be brought down the tiers to facilitate an

increase in phone calls for offenders in N2–N4. [JR-60, R. Doc. 669 at 5, ¶20; Belton Tr. vol. II at

424:2-10; Goodwin Trial 2 Tr. vol. XII at 2635:15-19; Thompson Trial 2 Tr. vol. XIII at 2947:21

- 2948:6] Offenders in Restrictive Housing are allowed a minimum of four (4) fifteen-minute

phone call per month plus attorney phone calls. Previously, offenders were allowed only one ten-

minute phone call. [JR-60, R. Doc. 669 at 5, ¶22; Goodwin Trial 2 Tr. vol. XII at 2636:15 - 2637:2]

If an offender asks for access to the phone cart, DWCC staff bring it to the offender whether it is
                                                17
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in the morning or late at night. [Belton Tr. vol. II at 425:21-25] Calls to attorneys are not limited

in number or duration as long as they are reasonable. [JR-25 at 2(F)]

       Offenders in Restrictive Housing are allowed three books and additional religious and

educational materials. [JR-60, R. Doc. 669 at 4, ¶18; JR-26, DWCC USOPP #36 dated 8/25/2021

at 8-11] Each tier in N1, N2, N3, and N4 now have eight (8) fans as opposed to the previous four

(4) that help when the temperature is warm. [Belton Tr. vol. II at 426:24 - 427:7, 428:3-5; Dempster

Tr. vol. VII at 1500:7-9] Haircuts and shaves in the lobby area are available to all offenders on

Monday, Wednesday, and Saturday. [JR-1 at 12(4); JR-25 at 6 of 15] The privileges allowed in

Investigative Segregation, Disciplinary Segregation, and Preventative Segregation at DWCC

comply with the 5th Edition ACA Standards. [Pacholke Trial 2 Tr. vol. III at 577:16 - 578:5]

       Staff make regular rounds in Restrictive Housing to ensure those offenders have access to

their services. Medical staff make daily rounds. [JR-1 at 9(B)(3); Thompson Trial 2 Tr. vol. XIII

at 2903:4-11] The classification officer makes weekly rounds. [JR-11 at 1(I)(D); Kimball Tr. vol.

1 at 191:12-14] Mental health staff make weekly rounds which are more fully addressed in section

V.B.3 infra.

       In late June or early July of 2022, DWCC installed the BadgePass System that tracks staff

movement through the facility through the scanning of uniquely identifiable badge credentials

issued to each DWCC staff member. [Nail Trial 2 Tr. vol. I at 170:15 - 172:15; Goodwin Trial 2

Tr. vol. XII at 2633:9-18] BadgePass is used to ensure the staff rounds are taking place in the

proper timeframes in addition to the logbooks kept by security staff. [Goodwin Trial 2 Tr. vol. XII

at 2634:3-14] The use of BadgePass and logs is sufficient to monitor staff rounds. [Thompson

Trial 2 Tr. vol. XIII at 3019:5-12]

       In August 2021, DWCC made changes to USOPP 34 to further DPS&C’s Restrictive

Housing procedural changes. Offenders who throw items on the tier, at staff members, or at other
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offenders can be placed on “Policy 34,” which restricts their property to prevent recurrence of

these types of incidents. [JR-24, DWCC USOPP #34 approved by DPS&C on 8/5/2021] Mr.

Pacholke agrees that the behaviors prohibited by Policy 34 are behaviors that a prison has a

legitimate interest in interdicting. [Pacholke Trial 2 Tr. vol. III at 603:24 - 605:18]

       An offender who engages in behavior prohibited by Policy 34 can be placed on that status

for up to 24 hours the first time he engages in that behavior. The policy now requires that the shift

supervisor review an offender every four hours to determine if the status can be discontinued. [JR-

24 at 5(R)(2)(e); Coleman Trial 2 Tr. vol. I at 121:23 - 122:10, 123:6-12] The review every 4 hours

determines if the situation with the offender has been de-escalated such that Policy 34 can be

discontinued. [Coleman Trial 2 Tr. vol. I at 122:15-21; Pacholke Trial 2 Tr. vol. III at 603:9-19;

Goodwin Trial 2 Tr. vol. IX at 1923:6-25 vol. XI at 2595:17-23]

       Now, an offender on Policy 34 retains his mattress unless it is being used as a shield or

barricade. [JR-24 at 4(R)(2)(c); Coleman Trial 2 Tr. vol. I at 76:21 - 77:2] If the mattress is

removed, a review is conducted at least every 4 hours by the shift supervisor to determine whether

it can be returned. If the mattress remains out of the cell for more than 8 hours or is recommended

to continue past shift change, the shift supervisor must receive concurrence from the unit manager

or higher rank. Since this change in August of 2021, no mattresses have been taken away.

[Coleman Trial 2 Tr. vol. I at 123:2-5 Pacholke Trial 2 Tr. vol. III at 603:20-23]

       Now, an offender who engaged in a pattern of behavior prohibited by Policy 34 may be

placed on that status for a longer duration subject to the following conditions. An offender with a

documented pattern is still reviewed by the shift supervisor or higher rank every four hours for

release from Policy 34. [JR-24 at 5(R)(2)(e)] Should the status continue beyond 24 hours, the Unit

Manager or above must authorize the continuation of the status, documenting the justification on

a UOR. [JR-24at 5(R)(2)(f); Coleman Trial 2 Tr. vol. I at 77:25 - 78:6] Should the status continue
                                                  19
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for 7 days; the offender must be reviewed every 7 days by a review board consisting of the Unit

Manager and a classification officer. [JR-24 at 5(S)(1); Coleman Trial 2 Tr. vol. I at 123:17-20]

           Since August of 2021 through August of 2022, no offender has been on Policy 34 status

for longer than 7 days. [Coleman Trial 2 Tr. vol. I at 123:21-23] Since August of 2021 through

August of 2022, the vast majority of offenders only remain on Policy 34 status for 4 hours.

[Coleman Trial 2 Tr. vol. I at 124:11-13; Burns Trial 2 Tr. vol. VII at 1532:7-10, 1599:24 - 1600:2;

vol. VIII at 1676:6-11; Goodwin Trial 2 Tr. vol. IX at 1923:22-25] Mr. Pacholke made no attempt

to determine the average length of time an offender on Policy 34 spends on that status. [Pacholke

Trial 2 Tr. vol. III at 605:19-22] Plaintiffs point to one offender they claim was on Policy 34 for

21 days in 2021, 9 but the full evidence showed that JB was not on strip cell consecutively and was

placed on it during that time period for multiple violations. [PR-C pp. 846-847 (Dec. 23), 850-851

(Dec. 9), & 865 (Dec. 17)] Plaintiffs make no claim that the policy was not followed as to these

incidents.

           Mr. Upchurch, who previously was critical of Policy 34, concludes that the changes made

to Policy 34 satisfy his concerns. [Upchurch Trial 2 Tr. vol. XII at 2763:16 - 2766:14] From May

through August of 2022, Policy 34 status was used 16 times. Thirteen of those usages lasted four

hours or less. Three of them lasted 24 hours. [Upchurch Trial 2 Tr. vol. XII at 2764:22 - 2766:14

(noting the Court excluded consideration of the data post-June 2022, and Defendants proffered

that data)]

           Mr. Upchurch is familiar with other jurisdictions that use a procedure similar to Policy

34—contrary to the testimony of Mr. Pacholke—including Washington State, where Mr. Pacholke

spent his career. [Upchurch Trial 2 Tr. vol. XII at 2768:14 - 2772:3] Since August of 2021, strip



9
    Mistakenly represented by Plaintiffs to have occurred in December 2022.
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cell is rarely used at DWCC. [Burns Trial 2 Tr. vol. VIII at 1676:1-2; Haney Trial 2 Tr. vol. X at

2302:15-18]

          Restrictive Housing at DWCC is being managed in a way that is consistent with generally

accepted correctional practice. [Upchurch Trial 2 Tr. vol. XII at 2785:14 - 2786:3]

          As to remedies 49(B) and (C) [Pls. Br., R. Doc. 732, at 20-21], there is no support in the

record for creating a standard where a correctional officer must consult with a psychologist or

psychiatrist prior to issuing a rule violation to an offender with a mental health diagnosis or that

the Chief of Security or Unit Manager must similarly consult prior to the imposition of discipline.

This suggestion fails both for a lack of proof and a failure to consider the adverse impact on public

safety.

          As to remedies 49(D) and (E) [Pls. Br., R. Doc. 732, at 21], these paragraphs detail

suggestions that are already in place, such as DWCC no longer takes yard, does not punish

offenders for malingering, does not punish acts of self-harm, and does not punish property

destruction related to one’s mental illness. Plaintiffs put no evidence on that these things are taking

place. The suggestions of enjoining punishment for possessing weapons or “a large number of

pills” would threaten the safety of DWCC.

          As to remedy 49(F) [Pls. Br., R. Doc. 732, at 21], the evidence shows that the behaviors

sought to be managed by Policy 34 are legitimate correctional concerns and the status is used no

longer than necessary to de-escalate the situation. The practice has also been found to be acceptable

by courts in this jurisdiction [see Defs. Pretrial Br., R. Doc. 664, at 36-37.] Plaintiffs introduced

no evidence related to food loaf, so this request fails for a lack of proof.

          As to remedies 49(G)-(M) [Pls. Br., R. Doc. 732, at 22-24], these suggestions have no basis

in the record and are not narrowly tailored. The detail of how time in Restrictive Housing is

structured is delegated to state authority. Woodford v. Ngo, 548 U.S. 81, 94, 126 S.Ct. 2378 (2006)
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(“it is ‘difficult to imagine an activity in which a State has a stronger interest, or one that is more

intricately bound up with state laws, regulations, and procedures, than the administration of its

prisons.’”). The suggestions in 49(H) are not narrowly tailored. The suggestions also include items

which are already in place. For instance, DWCC only places people in Restrictive Housing for rule

violations pursuant to the Disciplinary Matrix and already trains people who work in segregated

housing [JR-1 at 13(E)]. There is no evidence that using an offender’s past behavior in making

classification decisions [49(J)] is not acceptable correctional practice (in fact, the evidence was to

the opposite), and enjoining this practice jeopardizes public safety. There is no evidence that

DWCC’s classification of offenders is improper, thus ordering transfers of maximum custody

offenders out of Restrictive Housing and creating reporting requirements for doing so [49(K) &

(L)] are not narrowly targeted to correct a violation of a federal right. As these remedies fail for

lack of proof, and, in some cases, because they are already in place, there is no need to redraft

policies as indicated in 49(M).

   B. Mental Health Screening and Evaluation

       1. Intake Screening

       The evidence shows that every offender who arrives at DWCC receives an intake screening

after he gets off the bus. [Thompson Trial 2 Tr. vol. XIII at 2874:6-11; Burns Trial 2 Tr. vol. VII

at 1625:6-9] Plaintiffs argue that the screening is not adequate because Hayden is not qualified,

and they find fault with manner in which the screening is conducted.

       Dr. Thompson testified that Hayden is qualified to perform the intra-system intake

screening because:

       He has extensive experience working in the Department of Corrections and
       evaluating individuals on a day-to-day basis with reference to mental health. He
       has -- he has degrees that, you know, give him some additional training in these
       areas. He goes through David Wade trainings, and he appeared to be performing
       the training well when I watched him do trainings. And then he also is supervised
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       by Warden Dauzat, who is licensed and can supervise him. So my understanding,
       and the way I have seen screening evaluations done in prisons and jails over the
       years, is that many times they are done by officers that are trained, then there is a
       person that supervises them or goes back and looks at the training. So I felt he was
       clearly able to perform those screening evaluations based on personally watching
       him.

[Thompson Trial 2 Tr. vol. XIII at 2889:25 - 2890:14] Dr. Thompson concluded that Hayden’s

intra-system intake screening was well done and appropriate. [Thompson Trial 2 Tr. vol. XIII at

2876:16-18 & 2879:22-25]

       Further, Dr. Thompson actually observed Hayden perform the intra-system intake

screening. [Thompson Trial 2 Tr. vol. XIII at 2828:17-23] After establishing rapport with the

individual, Hayden asked appropriate questions about mental health, discussed confidentiality to

address potential drug withdrawal concerns, asked about medical conditions, asked typical mental

health screening questions about past psychiatric history and suicide attempts, asked whether the

individual had suicidal ideations, and performed a typical mental health status examination.

[Thompson Trial 2 Tr. vol. XIII at 2875:5 - 2876:14] Dr. Thompson then confirmed that Hayden

identified the individuals (three out of nine) that needed to be referred to Dr. Seal. [Thompson

Trial 2 Tr. vol. XIII at 2877:1-25] Indeed, Hayden referred one individual to Dr. Seal out of an

abundance of caution even though the individual was resistant to seeing Dr. Seal. [Thompson Trial

2 Tr. vol. XIII at 2880:9-12] Dr. Burns, on the other hand, did not observe Hayden perform the

intra-system intake screening. [Burn Trial 2 Tr. vol. VII at 1627:6-8]

       In the Court’s Ruling after the Phase I trial, the Court found that “Hayden is not qualified

to conduct the intra-system mental health intake screenings because he does not have the education

or training required to conduct IQ testing or psychological examinations.” [R. Doc. 641 at 67]

Respectfully, the record does not support such a finding. Prior to coming to DWCC, Hayden

administered psychological testing with the Department of Health and Hospitals. [Hayden Trial 1

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Tr. vol. XVI at 3547:9-17] He has also worked for Dr. Arien Ward doing psychometric testing and

psychological evaluations in order to secure Title 19 compliance for any institutions that are

housing people with intellectual disabilities. [Hayden Trial 1 Tr. vol. XVI at 3549:22 - 3550:3]

Consistent with his training and experience, Hayden is in fact the person who administers the IQ

testing or psychological examinations in the rare instances where an individual does not have an

A&I report completed at EHCC prior to coming to DWCC. [Dauzat Trial 1 Tr. vol. XV at 3346:23

- 3349:10] The results of the testing are then sent to a psychologist or psychiatrist to interpret and

sign. [Dauzat Trial 1 Tr. vol. XV at 3349:3-10] Further, the intra-system intake screen does not

require the screener to conduct IQ examinations or psychological examinations as found by the

Court, that “mental health appraisal” is done at EHCC. [see JR-4 at 3-4 (“mental health screening”

versus “mental health appraisal”]

       Dr. Burns testified that the individual that does the intra-system screening does not have to

have a license or be qualified to diagnose. [Burns Trial 2 Tr. vol. VII at 1625:10-13] Indeed, Dr.

Burns agreed in both trials that the intake screening could be conducted by a corrections officer

with training and supervision. [Burns Trial 2 Tr. vol. VII at 1625:19-21] Thus, Hayden possesses

the qualifications and training to perform the intake screening at DWCC.

       Upon screening, Hayden refers offenders to Dr. Seal if a “red flag” is presented, if the

offender arrives with a prescription for psychotropic medications, or if the offender has a SMI

diagnosis as defined in DPS&C policy. [JR-60, R. Doc., 669, at 11, ¶53] Warden Dauzat signs off

on all mental health intake forms completed by Hayden. [JR-60, R. Doc., 669, at 11, ¶54]




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        In the Phase II trial, Dr. Burns did not identify a single individual who needed to see Dr.

Seal or who needed to be on suicide watch and was not identified as such during the initial intra-

system screening. 10 [Burns Trial 2 Tr. vol. VII at 1627:24 - 1628:7]

        The plaintiffs in Dockery challenged the screening process for prisoners upon intake.

Plaintiffs argued that the screening was inadequate because the staff did not consistently review

medical records as part of the intake process and that assessments reviewed by plaintiffs’ expert

contained erroneous information. Dockery, 443 F.Supp.3d at 742. As here, the evidence in Dockery

clearly showed the screening was taking place. Id. The District Court rejected the plaintiffs’

arguments that the screening should be different than that being performed. Id. at 742-743. The

Fifth Circuit affirmed. Dockery, 7 Fed.4th 375. As in Dockery, Plaintiffs’ arguments that screening

should be performed differently than is being performed does not violate the Constitution. See also

U.S. v. Hinds County, No. 16-489, 2022 WL 1112223, at *42-45 (S.D. Miss. Apr. 13, 2022) which

struck a provision requiring that within 24 hours of placement in segregation, all prisoners on the

mental health caseload must be screened by a qualified mental health professional to determine

whether the prisoner has serious mental illness, and whether there are any acute mental health

contraindications to segregation. The Court found the provision overly broad and not the least

restrictive means.

        Plaintiffs argue that the intake screening form is deficient in some unspecified manner. Dr.

Burns’ direct examination did not criticize the screening form at all. [Burns Trial 2 Tr. vol. VII at

1532:11- 1533:13] On cross examination, Dr. Burns testified that the form that DWCC was using

was an intra-system screening form. [Burns Trial 2 Tr. vol. VII at 1628:8-21] She wanted a “few


10
   Defendants submit that it would be exceedingly rare for an offender to report to DWCC with mental health issues
that would disqualify them for Restrictive Housing because, as Warden Sherman testified:
        Hopefully Hunt would not put them on the bus if they were actively psychotic, they would just keep
        them there.
Sherman Trial 2 Tr. vol. II at 355:13-15.
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questions about suicide risk” added to the form; however, she admitted that the form did in fact

include questions about suicide risk. [Burns Trial 2 Tr. vol. VII at 1628:14-21]

       Defendants contend that the record shows that the intra-system intake screening generally

performed by Hayden is not constitutionally deficient.

       2. Screening on Reassignment from Other Parts of DWCC

       In a change from March 2020, offenders with serious mental illness are not placed in

Restrictive Housing, other than treatment segregation, unless cleared by appropriate mental health

professional. [JR-1, IS-B-4, at 8] Offenders who come to DWCC from elsewhere are cleared for

restrictive housing through the intra-system screening explained above. Offenders who move from

general population at DWCC into Restrictive Housing are screened by a mental health professional

prior to placement. [Robinson Trial 2 Tr. vol. IX at 2092:18 - 2093:21; Dauzat Trial 2 Tr. vol XI

at 2469:9-13; Goodwin Trial 2 Tr. vol. XI at 2541:9-22]

       Another change since March 2020 is that upon being assigned to Restrictive Housing, a

mental health appraisal is completed within seven days of placement utilizing Form IS-B-4-a,

“Mental Health Restrictive Housing Appraisal.” [Ex. JR-11 at 5] Plaintiffs admitted the completed

forms into evidence. [Ex. PR-P-1] The seven-day assessment is required by the ACA. [Burns Trial

2 Tr. vol. VII at 1638:14-15] It is stipulated that offenders receive a mental health appraisal within

seven days of placement into Restrictive Housing. [Ex. JR-60, R. Doc. 669, at 6, ¶27] There is no

dispute that DWCC is actually doing the assessment within seven days of an offender being

admitted into Restrictive Housing. [Burns Trial 2 Tr. vol. VII at 1638:8-11] Dr. Burns did not

identify anyone who went into Restrictive Housing that did not get the assessment within seven

days after the process was put in place. [Burns Trial 2 Tr. vol. VII at 1639:17-21]




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       3. Weekly Mental Health Rounds

       Previously, the Court found that:

       there was no evidence in the record that would demonstrate DWCC’s adherence to
       its own internal policies pertaining to rounds. Specifically, there is no indication
       that individuals with a LOC-2 designation were visited three times per week. There
       is also no indication that inmates with a LOC-3 or LOC-4 designation were visited
       weekly during rounds.

[R. Doc. 641 at 78]

       As to the Court’s comment on LOC 2 designations, DWCC does not house any offenders

designated as LOC 2. [Burns Trial 2 Tr. vol. VII at 1624:13-18] No offenders who are assigned a

mental health LOC 1 or LOC 2 are sent to DWCC. [Ex. JR-60, R. Doc. 669, at 10, ¶46] Plaintiffs

have not identified any offender who has been assigned a mental health LOC 2 at DWCC. [Ex.

JR-60, R. Doc. 669, ¶46] Dr. Burns did not identify even a single offender who arrived at DWCC

who was below LOC 3 and made no determination that anyone at DWCC was an LOC 2. [Burns

Trial 2 Tr. vol. VII at 1624:16-18 & 1626:18-20] Indeed, Plaintiffs do not challenge the LOC

classifications assigned by EHCC or DWCC. [Ex. JR-60, R. Doc. 669, at 10, ¶46]

       Dr. Burns testified that performing weekly rounds is sufficient and is the standard. [Burns

Trial 2 Tr. vol. VII at 1641:2-4] The evidence establishes that weekly rounds are in fact taking

place. [JR-1 at 9; Burgos Trial 2 Tr. vol. V at 918:11-13 - 919:2-4; Haney Trial 2 Tr. vol. X at

2291:9-17; Dauzat Tr. vol. XI at 2375:16-19; Thompson Trial 2 Tr. vol. XIII at 2903:15 - 2904:8,

3018:23 - 3019:4] Plaintiffs in fact stipulated that weekly rounds are taking place. [Ex. JR-60, R.

Doc. 669, at 12, ¶56]

       The substance of the weekly rounds is at issue. Policy requires that mental health make

announced weekly rounds with every LOC 3 and LOC 4 offender on a weekly basis. [JR-1 at 9]




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Policy does not require a face-to-face encounter. 11 The mental health staff member is announced

on the tier and walks down the tier to be available for any offender. This practice complies with

the policy on weekly rounds. Warden Dauzat explained that the weekly rounds are to provide

access and availability of mental health to the offenders on the tiers. [Dauzat Trial 2 Tr. vol. XI at

2375:23 – 2376:4] There is no expectation or requirement that the mental health staff will stop and

engage with every offender at every cell while making rounds. [Dauzat Trial 2 Tr. vol. XI at

2376:5-14]

         The Court directly asked Dr. Thompson if it was acceptable for the mental health

professional to announce his presence and walk through the tier without actually speaking with

every offender. Dr. Thompson responded directly to the Court’s question stating:

         Yes, ma’am, in my opinion it is. I realize other experts, you know, there’s -- this
         has been a -- kind of an ongoing debate amongst experts and monitors as to what
         you should do or what you shouldn’t do with reference to, do you stop at every cell,
         do you ask the same questions, put a little cart out and sign your initials to it? And,
         you know, I don’t know that I have seen any data or studies that show that that
         improved the overall quality of mental health care on the units.

            I mean, I think the main thing is that announcing that the mental health person
         is on the unit, and then, obviously, that mental health person is going to stop by
         periodically to talk to people that are there for their 30-day reviews, so they have
         options for that. And then the guards are going, as I said before, multiple times a
         day where they have options to -- to talk to the guards about whether they need to
         see mental health professionals. So, you know, I think there is a difference of
         opinion among experts. I don’t really see the benefit of checking a cart off every
         day at every single cell or asking the same questions. I think a lot of times that
         would be boring and a waste of time.

            Dr. Burns talked about different kinds of things that she thought were a waste of
         time. I think if they’re – if they know the person is on the unit and they are going,
         then they’ve got ample opportunity to flag a mental health professional down and
         say, hey, I need to talk with you or have a one-on-one session.

11
   HCP39, Section 6(C) explains as to medical rounds that offenders in Restrictive Housing are to receive a daily
screening. Ex. JR-7 at 9. Nurses round the tiers after they are announced. There is no suggestion that the nurse must
stop at every cell and perform a physical evaluation of the offender. The mental health rounds are the same. Indeed,
Dr. Burns testified that weekly mental health rounds are sufficient and are the standard in part because nurses are on
the tiers every day. The nurse can call mental health staff if more care is needed. Burns Trial 2 Tr. vol. VII at 1641:4-
6.
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[Thompson Trial 2 Tr. vol. XIII at 2904:19 - 2905:21] In response to the Court’s concern that an

individual has to have enough insight to know that he needs mental health, Dr. Thompson

explained that such a concern is “overstated” and that someone being so impaired they could not

ask for help “would be pretty rare”. [Thompson Trial 2 Tr. vol. XIII at 2905:24 - 2906:6] Indeed,

there is evidence that individuals do stop the mental health staff during rounds leading to

encounters. [Hayden Trial 2 Tr. vol. VI at 1175:8 - 1179:18; Ex. PR-S-1 at 555-556, 559-560, &

609-610]

       Defendants further show that they are performing 30-day assessments and respectfully

refer the Court to section V.C.5 infra.

       4. Definition of Serious Mental Illness

       Plaintiffs argue that the definition of serious mental illness contained in HCP27 is

underinclusive because it does not include a functional component in the definition. Plaintiffs did

not identify a single offender who they contend has SMI but was not an LOC 3.

       Dr. Thompson addressed this criticism directly upon questioning from the Court. Dr.

Thompson explained that it is difficult to have a policy that works perfectly with mental health

because there is a lot of judgment that goes into determining who has a serious mental illness.

[Thompson Trial 2 Tr. vol. XIII at 2910:17-22] Diagnosing a person with a condition other than

the six listed in HCP27 requires a very skilled person, and then it is still difficult. [Thompson Trial

2 Tr. vol XIII at 2910:4-7] Dr. Thompson stated that it would be rare for an offender with mental

illness to not be handled appropriately. [Thompson Trial 2 Tr. vol. XIII at 2910:8-11] Dr.

Thompson’s comment on suicide assessments was that “this is not lawyering” that the mental

health staff is doing. [Thompson Trial 2 Tr. vol. XIII at 2965:5-9] Blake LeBlanc’s testimony is

consistent with Dr. Thompson’s opinions. B. LeBlanc testified that an offender who was having

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functional problems would be referred to mental health. [B. LeBlanc Trial 2 Tr. vol. VI at 1332:18

- 1333:18] Ultimately, the system relies upon the professional judgment of the mental health staff.

         Dr. Thompson further pointed out that the screening that takes place in Restrictive Housing

is important to ensure that no one is missed. [Thompson Trial 2 Tr. vol. XIII at 2893:4-6] Every

offender in Restrictive Housing is assessed within seven days of placement into Restrictive

Housing. Adequate safeguards are in place. DSPC’s definition of SMI does not violate the

Constitutional.

         5. Plaintiffs Presented No Evidence of Inadequate Identification and Screening for
            Mental Illness

         As “evidence” of the alleged failure to screen, Plaintiffs point to one video of JG on March

15, 2022. [Ex. PR-D-33] On the video, JG is not responding to officers. Hayden is seen at JG’s

cell side. Officers had to extract JG from his cell.

         Plaintiffs presented nothing else about JG. There was no evidence of his mental health

condition, his actual screening, or what occurred prior thereto. This lack of showing results in a

failure of proof. 12

         On the other hand, Defendants showed that prior to extracting JG, officers called mental

health with an emergency security request. [Ex. DR-12 at 1-2] It was pursuant to this request that

Hayden was at JG’s cell side. Hayden placed JG on standard suicide watch until he could be seen

by Dr. Seal. [Ex. DR-12 at 2] Two days later, on March 17, 2022, Dr. Seal saw JG. JG was

continuing to refuse his medications. [Dr. Seal Trial 2 Tr. vol. IX at 1993:14; Ex. DR-12 at 3] Dr.

Seal noted that the staff was attempting to transfer JG to EHCC, but JG needed treatment for safety


12
  While it may not be pleasant to watch the recording of security officers extracting JG, lesser methods would not
have been prudent. JG could be dangerous. Based on the contemporaneous knowledge at the time of the video, he
could have been intoxicated and could have had a weapon such as a shank or a razor blade. Blake LeBlanc testified
about psychosis secondary to substance use, referring specifically to the use of Mojo. Offenders on Mojo are going to
be very difficult to manage in the short term. B. LeBlanc Trial 2 Tr. vol. VI at 1373:11-21. JG’s situation fits this
description, though his actual condition is unknown.
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reasons prior to transfer. [Dr. Seal Trial 2 Tr. vol. IX at 1993:15-17; Ex. DR-12 at 3] Dr. Seal

changed JG’s diagnosis to schizophrenia and prescribed Haldol injections and Cogentin. [Dr. Seal

Trial 2 Tr. vol. IX at 1993:21-24; Ex. DR-12 at 3] On March 18, 2022, the very next day, DWCC

completed a Medical Record Transfer Summary for JG. [Ex. DR-12 at 4]

       6. Response to Proposed Remedies on Mental Health Screening and Evaluation

       The Defendants address the proposed remedies of paragraphs 66(A-C) [Pls. Br., R. Doc.

732, at 32-33] together. Defendants contend that they have comprehensive policies and procedures

pertaining to mental health screenings. Thus, under the PLRA, no injunction should issue. Every

offender admitted to DWCC receives an intra-system screening as the offenders gets off the bus

using an appropriate screening form. Thus, there is no need for an injunction that requires DWCC

to screen offenders within eight hours after arrival. Every offender with SMI admitted to

Restrictive Housing is cleared by mental health prior to admission. Every offender is assessed

within seven days of being admitted into Restrictive Housing. Every offender with serious mental

illness in Restrictive Housing receives a mental health assessment every thirty days. There is no

evidence that these assessments do not meet the minimum constitutional standard. Plaintiffs’

arguments that the assessments should be done differently does not establish a constitutional

violation. Dockery, 443 F. Supp. 3d at 742, aff’d, 7 Fed. 4th 375.

       Defendants address the proposed remedies of paragraph 66(D-F) [Pls. Br., R. Doc. 732, at

33] together. These items fail for lack of proof. Dr. Burns did not testify that offenders could not

be held in Restrictive Housing for more than eight hours without an assessment. Dr Burns similarly

did not testify that offenders needed to be assessed after the first 24 and the first 48 hours in

Restrictive Housing. As to paragraph F, if that is referring to weekly rounds, then the weekly

rounds are being conducted. If paragraph F is referring to something other than weekly rounds,

Plaintiffs offered no evidence to support the need for paragraph F.
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       As to the proposed remedy in paragraph 66(G) [Pls. Br., R. Doc. 732, at 33-34], Plaintiffs

offered no evidence that mental health staff is required to make daily visits to the Restrictive

Housing units. To the contrary, Dr. Burns testified that weekly mental health rounds are sufficient

and are the standard in part because the nurse who is on the tier daily can call mental health staff

if more care is needed. [Burns Trial 2 Tr. vol. VII at 1641:4-6]

       As to the documentation of weekly rounds, Dr. Burns testified about ways to document

weekly mental health rounds. DWCC documents weekly rounds in the logbooks and with the

BadgePass system. Regardless, the weekly rounds are occurring, which is the constitutional

minimum. Plaintiffs’ proposed level of documentation is not the least restrictive or the most

narrowly tailored remedy. This level of detail is not required by the Constitution and would violate

the PLRA. See Hinds County, 2022 WL 1112223 (where the Court found all the subsections with

explicit details throughout the consent decree were not required by the Constitution and violated

the PLRA).

       As to the proposed remedy in paragraph 66(H) [Pls. Br., R. Doc. 732, at 34], Plaintiffs

offered no evidence of the alleged need for a crisis screening within 24 hours of these events.

Therefore, this item fails for lack of proof. Again, Dr. Burns’ testimony regarding the sufficiency

of weekly mental health rounds combined with daily nurse visits establishes the constitutional

minimum.

   C. Mental Health Treatment

       1. Plaintiffs Did Not Show Timely Complaints Regarding DWCC’s Mental Health
          Treatment

       Plaintiffs allege that class members are continuing to complain about mental health

treatment at DWCC. Four of the five ARPs were prior to the promulgation of IS-B-4 on March 7,

2021. [JR-60, R. Doc. 669, at 2 ¶5] One ARP was based upon an event two weeks after IS-B-4

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was promulgated. Plaintiffs offered no evidence of any ARPs complaining of mental health care

between April 26, 2021 and August 31, 2022. Considering that the case is being decided on

conditions as of August 31, 2022, Defendants contend that Plaintiff had not proven that class

members are continuing to complain of mental health care through August of 2022.

       None of the other ARPs have merit in any event. TD’s ARP pertained to the use of chemical

spray on March 22, 2021 while he was in N1. As stated at the beginning. N1 is not a Restrictive

Housing unit that is part of this litigation. Further, this Court did not find that Defendants use of

chemical spray was inappropriate in its prior Ruling. Finally, correctional officers used chemical

spray to stop TD from harming himself. [PR-M-1 at 33] The action was appropriate. See section

V.E.1 infra. BG alleged that on January 31, 2021, he was not allowed to see mental health after a

death in his family. The record, however, shows that a nurse saw him (January 31, 2021 was a

Sunday) and that he was placed on suicide watch after speaking with Robinson. [PR-M-1 at 95-

104] LJ alleged on December 4, 2020 that he had not seen mental health as per policy. The record,

however, shows that mental health did in fact see him as per policy. [PR-M-1 at 183-186] BH

alleged a violation of the ADA when he was given a paper gown after endorsing suicidal thoughts

on May 20, 2020. The record showed that BH was placed on suicide watch after claiming to be

suicidal and beginning a hunger strike due having received what he claimed to be a false write up.

[PR-M-1 at 131-132] No expert testified that DWCC’s response was inappropriate. Finally, CP

filed an ARP seeking to be prescribed Wellbutrin. DWCC responded explaining that Wellbutrin

was a non-formulary drug proven to be widely abused within correctional institutions; Dr. Seal

offered him a substitute (Effexor) in the same class of drugs. [PR-M-1 at 239-242] None of these

ARPs have merit.

       More importantly, Plaintiffs’ allegation that class members have continued to complain of

mental health services based upon current conditions that existed in Restrictive Housing as of
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August 31, 2022 is not true as Plaintiffs offered no evidence of APRs after April 21, 2021, a full

sixteen months before the fact discovery cutoff date and the date for “current conditions” in this

case.

        2. Mental Health Staffing at DWCC

        Psychiatrist hours and number of visits have significantly increased. Dr. Seal was working

eight hours on every other Thursday. Now, Dr. Seal time has been doubled, to eight hours per

week, four hours every Wednesday and four hours every Thursday. [Ex. JR-60, R. Doc. 669, at 9,

¶39] Dr. Seal’s increased time is for approximately 50% less offenders housed in Restrictive

Housing. [Thompson Trial 2 Tr. vol. XIII at 2929:8-15; Burns Trial 2 Tr. vol. VII at 1656:15-18]

Dr. Seal’s time has increased while the number of offenders that he needs to see on the South

Compound has decreased. [Thompson Trial 2 Tr. vol. XIV at 3048:3-5] No one has identified an

instance when an offender was unable to see Dr. Seal timely. [Burns Trial 2 Tr. vol. VII at 1646:16-

24] Dr. Seal’s staffing level is adequate for DWCC.

        In the later part of 2021, DWCC hired Dr. Julia Wood as a contract psychologist for about

five months, August through December. [Dauzat Trial 2 Tr. vol. XI at 2376:15-25] Dr. Wood

worked one day a week for seven hours at DWCC. [Dauzat Trial 2 Tr. vol. VI at 1195:1-8] Since

Dr. Wood left DWCC, DWCC wants to fill that position but has been unable to do so. [Burgos

Trial 2 Tr. vol. IV at 809:12-21; Dauzat Tr. vol. VI at 1192:10 - 1193:11 vol. XI, 2377:3 - 2379:14;

Goodwin Trial 2 Tr. vol. XII at 2637:14 - 2638:4] Warden Dauzat explained that DWCC has

reached out to colleges that have psychology programs, DWCC’s HR team has attended eight job

fairs within the year, and DWCC has advertised. [Dauzat Trial 2 Tr. vol. XI at 2377:6-22; Goodwin

Trial 2 Tr. vol. XII at 2637:14-25] The combination of a correctional setting and the rural location

make hiring a professional at DWCC very difficult. [Dauzat Trial 2 Tr. vol. XI at 2380:5-15] Dr.

Thompson agreed that it is very difficult to hire a psychologist. [Thompson Trial 2 Tr. vol. XIII at
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2932:23-24] Specifically, he explained the difficulty in hiring a psychologist even at ELMS

forensic hospital and concluded that ELMS has had open positions for psychologist for literally

years. [Thompson Trial 2 Tr. vol. XIII at 2930:6-19] DWCC has not been able to fill the position

despite its good faith strong effort to do so. [Goodwin Trial 2 Tr. vol. XII at 2637:24 - 2638:4]

        DWCC is also trying to fill an employed psychologist position (different than the contract

position previously held by Dr. Wood) that would split time at DWCC and the Steve Hoyle facility.

[Dauzat Tr. vol. VI at 1192:18 - 1193:4 vol. XI, 2377:3 - 2379:14] DWCC is also trying to fill two

vacant mental health staff positions, one social worker and one social service counselor. [Goodwin

Trial 2 Tr. vol. XII at 2638:4-9; PR-K-8 at 2; PR-K-11 at 2]

        Even with these openings, staffing for mental health is clearly within constitutional

minimum standards. Dr. Burns at the first trial opined that DWCC needed one mental health staff

member for every 65 individuals on the case load. [Burns Trial 2 Tr. vol. VII at 1656:22-25] Since

March 2020, DWCC hired two additional mental health staff members, Mses. Spivey and Wells.

[Burns Trial 2 Tr. vol. VII at 1658:20-24] These two new staff members have taken on duties to

allow Burgos and Hayden to focus upon the South Compound. [JR-60, R. Doc. 669 at 8-9, ¶38;

Robinson Trial 2 Tr. vol. IX at 2027:20-25; Thompson Trial 2 Tr. vol. XIII at 2929:16-22] Dr.

Burns admits that DWCC is now clearly within the 1 to 65 staff ratio that she originally proposed

for the South Compound. [Burns Trial 2 Tr. vol. VII at 1657:11-14]

        Realizing that DWCC’s staffing is now within the criteria she previously set as the

standard, Dr. Burns wants to change the criteria. She now recommends that a staffing plan analysis

be undertaken. Plaintiffs argue that Dr. Burns “maintained” her recommendation from the Liability

Phase that a staffing plan analysis be performed. [Pls. Br., R. Doc. 732 at 36, ¶73] Dr. Burns never

opined in her first report or in her testimony during the first trial that a staffing plan analysis needed



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to be undertaken. The Court’s Ruling also did not mention a staffing plan analysis because there

was no evidence of same. As DWCC is properly staffed, a staffing plan analysis is not needed.

       It is necessary to address Steve Hayden at this point. Hayden is not a licensed social worker,

but that does not mean that he is not qualified to perform his duties. IS-B-4 defines a “health care

professional” as:

       Staff who perform clinical duties, such as health care practitioners/providers,
       nurses, licensed professional counselors, social workers, and emergency medical
       technicians, all in accordance with their respective scope of training and applicable
       licensing, registration, certification, and regulatory requirements.

[Ex. JR-1, IS-B-4, at 5] The key is that the staff member performs duties in accordance with his

scope of training and applicable licensing, registration, certification, and regulatory requirements.

This policy is consistent with the ACA definitions. [Ex. PR-Z-4 at 1]

        Hayden holds a master’s degree in psychology and has worked in the position for fifteen

years. [Hayden Trial 2 Tr. vol. V at 961:1-3; Ex. PR-F-5] He clearly has the training to perform

his job. He does not diagnose or perform other duties that would require a licensure. Blake

LeBlanc, the state mental health director, testified about Hayden:

       I have worked with Steve now for about three years, and when I have conversations
       with Steve about correctional matters, he seems really knowledgeable about these
       things. And, you know, it – it hasn’t concerned me, Judge, not -- no, it hasn’t. I
       mean, I think that Steve is -- is knowledgeable in his profession, and whenever I
       read his documentation it seems on point. My conversations with him have gone
       well. He has consulted me when he needs to.

[B. Leblanc Trial 2 Tr. vol. VI at 1381:7-15] Mr. Leblanc had no concerns with Hayden having to

decide whether or not an offender is having a psychotic episode in his everyday duties. [B. LeBlanc

Trial 2 Tr. vol. VI at 1381:18-23] Dr. Thompson similarly testified that Hayden could do his job:

       I felt that he has certainly enough training to be able to do the screening and I
       observed him do the screening, and he has enough years in corrections with the
       supervision of Ms. Dauzat to be able to provide the kinds of therapy that need to be
       provided. And I had seen, I think, sometimes he even refers folks to other social

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       workers if they are -- if it looks like they are a more appropriate person or they
       might identify better with the individual…in my opinion he can do his job.

[Thompson Trial 2 Tr. vol. XIV at 3049:18 - 3050:4] He is qualified and can develop treatment

plans with information provided by Dr. Seal. [Thompson Trial 2 Tr. vol. XIV at 3051:7-9] Hayden

can assess offenders who go on and come off of suicide watch, and he refers offenders to Dr. Seal

for further treatment. [Thompson Trial 2 Tr. vol. XIV at 3052:7-11] He is qualified to provide

individual counseling because he has been doing it for years. [Thompson Trial 2 vol. XIV at

3052:24 - 3053:5] He can provide supportive therapy. [Thompson Trial 2 vol. XIV at 3053:11-23]

Hayden is qualified to perform a level of care assessment on an offender. [Thompson Trial 2 vol.

XIV at 3056:9-14]

       Defendants’ interpretation of its policies as to Hayden’s qualifications to do his job is

entitled to deference. The Fifth Circuit in Robichaux v. Tanner, 995 F.2d 223 (5th Cir. 1993) held

that prison administrators should be accorded wide-ranging deference in the adoption and

execution of policies and practices. See also June Med. Servs. LLC v. Kliebert, 158 F. Supp. 3d

473, 512 (M.D. La. 2016) (“Like their federal counterparts, Louisiana state agencies are ‘entitled

to deference regarding ... interpretation and construction of the rules and regulations that ... [they]

promulgate[ ].’”) Thus, DOC’s interpretation of its regulation that Hayden is able to perform duties

consistent with his training is entitled to deference.

       3. Mental Health Treatment Plans

       This issue of the similarity of DWCC’s treatment plans has been remedied – it is stipulated

that “DWCC now has individualized mental health treatment plans.” [Ex. JR-60, R. Doc. 699, at

12, ¶57] Plaintiffs are foreclosed from arguing that the treatment plans are not individualized. Dr.

Thompson called the treatment plans “massively improved” from before. [Thompson Trial Tr. 2

Tr. vol. XIII at 2918:4-16; Thompson Trial 2 Tr. vol. XIV at 3061:14-23]

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       The mental health staff, Burgos and Hayden, complete the treatment plans for the offenders

on their caseload. [Burgos Trial 2 Tr. vol. III at 698:16-22] Dr. Seal’s input is added to the

treatment plans as a result of his visit with the offender. [Dr. Seal Trial 2 Tr. vol. III at 669:16 -

670:12] Treatment plans identify an offender’s diagnosis and goals. [Burgos Trial 2 Tr. vol. III at

699 at 21-23] The mental health staff will then meet with the offender to discuss goals and need

areas. [Burgos Trial 2 Tr. vol. III at 701:9-11] The offender signs the treatment plan after it is

prepared, and the mental health staff goes over each and every column with the offender. [Burgos

Trial 2 Tr. vol. III at 705:19-25 & 713:9-22]

       Treatment plans are reviewed at least annually and may be reviewed more frequently if

clinically indicated. [Burgos Trial 2 Tr. vol. V at 932:24 - 933:14; Ex. JR-3 at 9] Treatment plans

are updated or revised if a diagnosis changes. [Burgos Trial 2 Tr. vol. III at 716:5-10] Evidence

shows that the treatment plans are in fact updated no less than annually and often sooner. Plaintiffs

showed Burgos a treatment plan for BA dated May 20, 2021. [Ex. PR-B-1 at 74] Even though the

annual date for the next treatment plan was May 20, 2022, BA’s treatment plan was updated on

December 16, 2021 when his diagnosis changed. [Burgos Trial 2 Tr. vol. V at 935:1-24; Ex. PR-

B-1 at 165] This is an example of a treatment plan that was changed before the annual review date.

[Burgos Trial 2 Tr. vol. V at 937:19-21]

       Plaintiffs’ attempt to impeach Hayden as to treatment plans rings hollow. Hayden testified

that he would update a treatment plan if there was a change in medication or a change in custody

status, but not for a change in house. [Hayden Trial 2 Tr. vol. V at 1009:17-23] A change of cell

within a cell block would not matter, but a change in custody status would.

       Dr. Burns’ testimony revealed that what she desires for the treatment plans is, “ideal,” a

telling description. [Burns Trial 2 Tr. vol. VII at 1581:11] Plaintiffs’ desires for “ideal” treatment



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plans do not establish a constitutional violation. Dockery, 443 F. Supp. 3d at 742, aff’d 7 F.4th

375.

           4. Psychiatric Treatment

           Plaintiffs do not challenge the diagnoses assigned to offenders by either Dr. Seal or EHCC.

[Ex. JR-60, R. Doc. 669, at 10, ¶45] Dr. Seal’s diagnoses assigned to offenders at DWCC are

correct. [Burns Trial 2 Tr. vol. VII at 1646:4-7] Dr. Seal performs the traditional role of a

psychiatrist and does medication management. [Burn Trial 2 Tr. vol. VII at 1643:7-14]

Prescription of psychotropic medications are the most important type of treatment for many mental

health conditions. [Burns Trial 2 Tr. vol. VII at 1649:7-10] In fact, psychotropic medications in

some instances are the only treatment for individuals with serious mental illness. 13 [Burns Trial 2

Tr. vol. VII at 1649:12-15] As before, Dr. Burns offered no criticisms of the medications

prescribed by Dr. Seal.

           Dr. Seal’s visits are now by telemed. After COVID, the rules changed, and telemed visits

are acceptable. [Burns Trial 2 Tr. vol. VII at 1569:9-12] With telemed, security is no longer present

when Dr. Seal sees the offenders. [Burn Trial 2 Tr. vol. VII at 1643:18-20] Plaintiffs argue without

support that Dr. Seal seeing offenders only by zoom is a problem. There was no expert testimony

that visits via telehealth are unacceptable.

           The mental health staff attends the session with Dr. Seal and the offender. [Burns Trial 2

Tr. vol. VII at 1643:24 - 1644:1] Dr. Burns tried to create an issue that both Mr. Hayden and Mr.

Burgos are in attendance for psychiatric clinics with Dr. Seal. She was apparently unaware that

this occurs because Dr. Seal sees all of his South Compound patients on the same day and the

duties for patients on the South Compound are split between Messrs. Hayden and Burgos. Thus,



13
     This testimony was elicited through impeaching Dr. Burns with her prior deposition testimony.
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if patients from N1 and N2 are scheduled with patients from N3 and N4, one would expect that

both clinicians would be present for the clinic of the patients on their caseload. [Dauzat Tr. vol. XI

at 2374:1 - 2275:14; Thompson Trial 2 Tr. vol. XIII at 2980:5 - 2981:1, 3022:16 - 3023:3 (opining

that this practice is a good)]

        The process of having the mental health staff sit in on the visits between Dr. Seal and the

offenders ensures that the mental health staff is informed and that everyone is on the same page.

[Burns Trial 2 Tr. vol. VII at 1644:2-5] The presence of both on each visit also helps because

Burgos and Hayden do in fact work both units. [Dauzat Trial 2 Tr. vol. XI at 2375:4-5] Both are

able to provide information and feedback on the offender during the visit as well [Dauzat Trial 2

Tr. vol. XI at 2375:1-8] Finally, both being present in the treatment room makes the logistics of

escorting the offenders to the visits easier. [Dauzat Trial 2 Tr. vol. XI at 2374:3-25]

        Psychiatric clinic documentation has been strengthened by having the clinicians type notes

of the substance of the psychiatric clinic with Dr. Seal utilizing the SOAP method. [Hayden Trial

2 Tr. vol. V at 965:14-20; Dauzat Tr. vol. XI at 2424:1-23; Thompson Trial 2 Tr. vol. XIII at

2980:8 - 2981:1, 3023:4-8] This practice is to assist with clinicians’ difficulty reading Dr. Seal’s

handwritten notes.

        Dr. Seal determines when he wants to see an offender for follow up. [Ex. JR-60, R. Doc.

669, at 9, ¶40] DWCC mental health staff can have an offender see Dr. Seal sooner if necessary.

[Ex. JR-60, R. Doc. 669, at 9, ¶40] There is no evidence that Dr. Seal’s psychiatric visits are

deficient in any manner.

        Plaintiffs continue to complain that offenders in Restrictive Housing do not have access to

group programming. The plaintiffs in Dockery argued that they were “provided insufficient access

to other structured mental health treatment programs such as group therapy and mental health

activities.” The Court found that the plaintiffs’ arguments that they wanted different mental health
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treatment did not establish a constitutional violation. Dockery, 443 F. Supp. 3d at 742, aff’d 7 F.4th

375.

       The medical staff at DWCC assists with mental health needs when appropriate. During

weekends, when presented with an emergent situation or in response to a threat of suicide, the

medical staff will assist the mental health staff. [Coleman Trial 2 Tr. vol. I at 132:13 - 134:10;

Dauzat Tr. vol. VI at 1188:9 - 1189:4]

           5. Timed Assessments

       Although this section is labeled “timed assessments,” Plaintiffs only address the thirty-day

assessments for offenders with SMI or ninety-day assessments for offenders without SMI. There

are numerous other timed or regular assessments. An offender who is placed into Restrictive

Housing is assessed within seven days of placement. [JR-11, EPM #03-01-001, at 5; Ex. PR-P-1]

The level of care designation is reviewed every ninety days, and a more thorough level of care

assessment is performed at least annually. [Burgos Trial 2 Tr. vol. IV at 887:7 - 888:2] Offenders

see Dr. Seal at least once every six months. [Dr. Seal Trial 2 Tr. vol. III at 628:24 - 629:2] The

treatment plan is updated at least once a year. [Burgos Trial 2 Tr. vol. V at 932:24 - 933:14; Ex.

JR-3 at 9] Of course, in addition to all of the above, offenders at DWCC may seek access to mental

health services through routine sick call, emergency sick call, during a mental health round on the

tier, or by referral by any DWCC staff or another prisoner. [Ex. JR-60, R. Doc. 669, at 12, ¶55]

See the discussion of screening and evaluation in section V.B supra.

       After the Phase I trial, the Court found that these mandatory mental health evaluations were

not occurring. [R. Doc. 641 at 78-79] The evidence now shows that evaluations are in fact taking

place and the interval between evaluations is shorter.

       Previously, offenders designated as LOC 3 received a mental health evaluation every

ninety days. [Ex. J-15 at 6, EPM #03-02-003] Now, offenders with a diagnosed behavioral health
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disorder (LOCs 3 and 4) receive a behavioral mental health assessment every thirty days. [Dauzat

Trial 2 Tr. vol. XI at 2372:22-25; Ex. JR-1, IS-B-4, at 10] The thirty-day assessment is consistent

with the ACA standards. [Burns Trial 2 Tr. vol. VII at 1571:23-25] Plaintiffs stipulated that the

thirty-day segregation interviews are occurring. 14 [JR-60, R.Doc. 669 at 13, ¶65]

        Moreover, these assessments are more often conducted in a private setting. Burgos

generally conducts the assessments in a private setting, and Hayden gives the offender the choice

of conducting the assessment cell side or in a private setting. [Burns Trial 2 Tr. vol. VII at 1651:1

- 1652:7] The practice of conducting the interviews is a private setting is much improved since the

Phase 1 trial. [Burns Trial 2 Tr. vol. VII at 1651:25 - 1652:2]

        In the Phase 1 ruling, the Court found that “there is no list or roster of inmates on the mental

health caseload. Without such a list, it would be nearly impossible to keep track of where each

inmate on the mental health caseload resides, when the last point of contact was, and when the

next appointment should be scheduled.” [R.Doc. 641 at 79] DWCC now has a database which

produces a face sheet for each offender. [Ex. JR-60, R. Do. 669, at 10, ¶48] The mental health face

sheet created from the database allows DWCC to track important information on each offender,

including LOC, suicide history, date of most recent suicide watch, heat pathology/duty status,

diagnosis, diagnosis date, psychotropic medications, last psychiatric visit, date of next psychiatrist

visit, medication expiration date, date of information consent, date of confidentiality form, date

last seen, next clinician visit, with space for comments. [Dauzat Trial 2 Tr. vol. XI at 2368:11-24,




14
  Dr. Thompson undertook the exercise of looking at every mental health contact for LOC 3 offenders in Restrictive
Housing in June of 2022. He found that every LOC 3 offender was seen for the thirty-day interview within the month
of June of 2022. Thompson Trial 2 Tr. vol. XIII at 2911:21-24. Dr. Burns conceded that DWCC does perform thirty-
day and ninety-day assessments on offenders in Restrictive Housing. Burns Trial 2 Tr. vol. VII at 1533:14-17;
1649:21-25 & 1650:13. In fact, Dr. Burns is not aware of a single individual with SMI who did not receive the thirty-
day interview. Burns Trial 2 Tr. vol. VII at 1650:17-19.
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1271:12-18; Ex. JR-60, R. Doc. 669, at 10-11, ¶49; Ex. PR-J] DWCC mental health staff review

this database daily. [Hayden Trial 2 Tr. vol. V at 1108:4-8]

       In the Phase 1 ruling, the Court criticized the content of the assessments. The

documentation of the assessments is more robust than before utilizing the SOAP method. [Dauzat

Trial 2 Tr. vol. VI at 1225:20 - 1226:8, vol. XI at 2366:22 - 2267:13;] Dr. Burns had no criticism

of Burgos and found that his notes were more detailed. [Burns Trial 2 Tr. vol. VII at 1647:9-11]

Plaintiffs presented no evidence that the current documentation is deficient.

       The thirty-day mental health assessments are occurring and are above the constitutional

minimum. Again, as the District Court in Dockery held, there is no constitutional violation where

the plaintiffs are not being denied treatment and their mental health illnesses are not being ignored;

plaintiffs’ arguments that they should be provided different treatment do not establish a

constitutional violation. Dockery, 443 F. Supp. 3d at 742, aff’d 7 F.4th 375.

       6. Self-Help Materials

       DWCC has self-help materials available and provided to offenders in Restrictive Housing.

[Exs. JR-28 - JR-58 (written materials)] Materials provided to offenders on the South Compound

include anger management, victim awareness, substance abuse, parenting and thinking for a

change. [Burgos Trial 2 Tr. vol. III at 707:25 - 708:8; Burgos Trial 2 Tr. vol. IV at 833:2-11;

Hayden Trial 2 Tr. vol. V at 1111:14-20] Burgos also provides information related to veterans’

affairs to offenders on the South Compound. [Burgos Trial 2 Tr. vol. IV at 834:13-14] Burgos has

given out materials to 66 offenders, though he does not know how many of those have SMI.

[Burgos Trial 2 Tr. vol. III at 709:20-24] Hayden has given out materials to 55 offenders since

March of 2020. [Hayden Trial 2 Tr. vol. V at 1111:23 - 1112:2] Written materials to work toward

a high school diploma can be provided to offenders on the South Compound. [Goodwin Trial 2 Tr.



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vol. XI at 2564:3-16] DWCC has certified offender tutors to assist offenders with courses.

[Goodwin Trial 2 Tr. vol. XI at 2564:21 - 2565:2]

           Further, offenders in Restrictive Housing have access to correspondence work and

homework with mental health staff for self-help programs. [Sherman Trial 2 Tr. vol. II at 382:8 -

383:14, 406: 20 - 408:1; Pacholke Trial 2 Tr. vol. III at 575:20 - 576:5 (self-help materials are

programming); Hayden Trial 2 Tr. vol. V at 1111:14-20; Robinson Trial 2 Tr. vol. IX at 2053:6-

14; Thompson Trial 2 Tr. vol. XIII at 2975:15-23 (records review indicated anger management

materials were given out to two individuals in June of 2022), 2984:12-16 (offender who was

interviewed reported the availability of such materials), 3027:25 - 3028:11]

                7. Treatment Segregation

           Since the phase I trial, DWCC began using treatment segregation. [Ex. JR-60, R. Doc. 669,

at 14, ¶67] There are two beds in the north infirmary designated as treatment segregation. [Burgos

Trial 2 Tr. vol. IV at 873:11-14] An individual who begins to display systems of active psychosis

and is not performing day-to-day functions is eligible for placement into treatment segregation. 15

[Burgos Trial 2 Tr. vol. IV at 873: 24 - 874:2] Treatment segregation has been used for two

offenders. [Ex. JR-60, R. Doc. 669, at 14, ¶67]

           On May 21, 2021, DQ walked into the north infirmary from his housing in general

population on the North Compound. [Dr. Seal Trial 2 Tr. vol. IX at 1976:19-22; Ex. PR-B-27 at

181] He was having displaced thought patterns. [Id.] Dr. Seal gave a verbal order by telephone to

the nurse to administer Haldol and Cogentin injections three times a day for two weeks or until

seen by a mental health doctor. [Dr. Seal Trial 2 Tr. vol. IX at 1974:14-20] This injection of Haldol

is a quick-acting version of Haldol that is meant to have an immediate effect to control psychosis.



15
     Treatment segregation can also be used for offenders with medical issues. JR-1 at 6; JR-11 at 12(VI)(A)(6).
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[Dr. Seal Trial 2 Tr. vol. IX at 1975:11-14] The quick-acting Haldol requires close observation by

a nursing staff. [Dr. Seal Trial 2 Tr. vol. IX at 1977:1-5] DQ was placed into treatment segregation

in a hospital room in the infirmary. [Burgos Trial 2 Tr. vol. IV at 876:13-21, 879:25 - 880:1] The

nursing staff monitored DQ thereafter until June 2, 2021. [Dr. Seal Trial 2 Tr. vol. IX at 1977:6-

15; Ex. PR-B-27 at 173-187] On June 2, 2021, Dr. Seal saw DQ. [Ex. PR-B-27 at 202] Dr. Seal

noted that he had issued the verbal order for DQ to be started on Haldol injectable and that the

staff reported that DQ was less irritable and volatile as of June 2, 2021. [Dr. Seal Trial 2 Tr. vol.

IX at 1979:20-25; Ex. PR-B-27 at 202] Dr. Seal changed the Haldol injectable to the long-lasting

once a month Haldol injection at that time. [Dr. Seal Trial 2 Tr. vol. IX at 1980:10-15; Ex. PR-B-

27 at 202] Dr. Seal obtained a successful result for DQ as a result of his stay in treatment

segregation. [Dr. Seal Trial 2 Tr. vol. IX at 1981:1-7] Burgos confirmed that DQ got better.

[Burgos Trail 2 Tr. vol. IV at 880:12-13] DQ’s stayed in treatment segregation for twelve days

(May 21 through June 2). The situation with DQ, who was housed in the general population, shows

that treatment segregation at DWCC works.

       Plaintiffs have failed to show that treatment segregation is constitutionally deficient. To

the contrary, the evidence as to DQ, who came from general population, showed a successful use

of treatment segregation to stabilize a patient with acute psychiatric symptoms.

       8. Medication Administration

       The deficiencies that the Court found in medication administration in the Phase I trial have

been remedied. Plaintiffs stipulated that DWCC has new pill call officers for the South Compound.

[JR-60, R. Doc. 669, at 12, ¶58] Pill call officers are trained via in-class and hands on training by

medical staff on how to conduct pill call, including documentation. [JR-60, R. Doc. 669, at 12,

¶59] The officers receive a refresher course on the pill call policy every February. [Id] It is

stipulated that the documentation of medication administration is better and more consistent that
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before March of 2020. [JR-60, R. Doc. 669, at 13, ¶64; Thompson Trial 2 Tr. vol. XIV at 3061:8-

11] The prior over utilization of the “not requested” option on the MARs has been resolved. [JR-

60, R. Doc. 669, at 13, ¶63] Further, DWCC monitors the medication noncompliance more

aggressively than before. [Burgos Trial 2 Tr. vol. IV at 814:9-17; Hayden Trial 2 Tr. vol. V at

1109:5-8]]

       DWCC has acquired a new electronic medication program called “sMARt” from

technology vendor Fusion Health. [JR-60, R. Doc. 669, at 13, ¶60] Unfortunately, the sMARt

system has glitches and does not yet work at intended. [Dauzat Trial 2 Tr. vol. VI at 1265:8-16]

When working as designed, the pill call officer will have a scanner which will scan the medication

and document the MAR. [Thompson Trial 2 Tr. vol. XIII at 2936:23-25] The feature of the sMARt

system that would notify mental health of missed medication doses would be an improvement.

[Thompson Trial 2 Tr. vol. XIII at 2937:20-25] The Department’s acquisition of the sMARt system

is a good thing. [Burns Trial 2 Tr. vol. VII at 1662:15-18]

       Plaintiffs still assert that pill call should be conducted by nurses, not correctional officers.

Dr. Thompson testified that a pill call officer who is not a nurse can administer medications.

[Thompson Trial 2 vol. XIV at 3061:4-7] Dr. Burns admitted that it is not uncommon for

correctional officers to administer medications. [Burns Trial 2 Tr. vol. VII at 1659:25 - 1660:2]

Plaintiffs presented no evidence of harm from pill call officers administering medications at

DWCC.

       As to evening pill call, Dr. Thompson testified that it is hard to get medications delivered

at nighttime in most correctional institutions. [Thompson Trial 2 Tr. vol. XIII at 2938:21-22]

Ideally, evening medications should be delivered between 6 and 8 pm. [Thompson Trial 2 Tr. vol.

XIII at 2939:4-6] Sleep medications need to be taken a couple of hours before bedtime to reach

peak dosage. [Thompson Trial 2 Tr. vol. XIII at 2939:6-13] Dr. Thompson further pointed out that
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DWCC’s day begins early and that considering that offender wake up at 5:00, sleep medications

between 4 and 6 pm might not be a bad time. [Thompson Trial 2 Tr. vol. XIII at 2939:21-25] The

risk of giving sleeping medications too early is only that the offender will be sleeping earlier and

waking up earlier. [Thompson Trial 2 Tr. vol. XIII at 2940:14 - 2941:1]

         Plaintiffs have not alleged that any offenders were prescribed improper mental health

medications. [Ex. JR-60, R. doc. 669, at 10, ¶43] The bottom line is that offenders are receiving

the medications that are prescribed. [Thompson Trial 2 Tr. vol. XIII at 2943:1-5]

         9. Psychoeducational Courses for Working Segregation

         Plaintiffs complain that offenders in working segregation attend psychoeducational courses

rather than therapeutic programming. To begin with, working segregation is no longer Restrictive

Housing because offenders in working segregation are out of their cells for more than two hours a

day. Even if Working Segregation was Restrictive Housing, this is nothing more than the Plaintiffs

wanting treatment different than they are receiving. This complaint does not raise a constitutional

issue.

         10. Response to Proposed Remedies on Mental Health Treatment

         As to the proposed remedy in paragraph 106(A) [Pls. Br., R. Doc. 732, at 50] (with the

exception of group programming which is addressed below), Defendants’ policies are more than

sufficient. Plaintiffs’ experts provided no explicit criticisms of DWCC’s policies. Plaintiffs have

failed to prove that DWCC’s policies are below the constitutional minimum.

         As to the proposed remedy in paragraph 106(B) [Pls. Br., R. Doc. 732, at 50], the evidence

shows that offenders in Restrictive Housing at DWCC already have face-to-face meetings with

mental health staff on a regular basis. All offenders with a behavioral health diagnosis are seen at

least once every 30 days, and more frequently if necessary. For instance, when Dr. Thompson

reviewed all mental health contacts for LOC 3 offenders in Restrictive Housing in June of 2022,
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he found that the 31 LOC 3 offenders in restrictive housing had 68 mental health contacts during

the month, not including psychiatric time. [Thompson Trial 2 Tr. vol. XIV at 3042:1-7]

       There is no requirement that security staff be removed when mental health staff are

counseling offenders. DWCC is a maximum-security prison which means that security staff may

need to be present on occasion to protect the mental health staff. Imposing such a requirement risks

tragedy and makes the hiring and retention of staff more difficult.

       The proposal that the Court order that a mental health clinical encounter be documented is

unnecessary as DWCC already documents mental health clinical encounters. Plaintiffs offered no

testimony that the note must include the time that meeting commenced and ended. This suggestion

is not the least restrictive or narrowly tailored. See Hinds County, 2022 WL 1112223 (in

performing a PLRA analysis, the court struck provisions providing detail as to how mental health

staff must document interactions with offenders as not required by the Constitution).

       As to the proposed remedy in paragraph 106(C) [Pls. Br., R. Doc. 732, at 50], DWCC does

provide individual therapy to offenders. The Constitution does not require group therapy. As here,

the plaintiffs in Dockery argued that they received little if any group or individual therapy. The

district court rejected the claim because the plaintiffs did not show that they were being denied

treatment, that their mental health illnesses were being ignored, or that they were being

intentionally mistreated. Plaintiffs’ arguments that they should receive different treatment do not

establish a constitutional violation. Dockery, 443 F. Supp. 3d at 742, aff’d, 7 F.4th 375.

       As to the proposed remedy in paragraph 106(D) [Pls. Br., R. Doc. 732, at 50], Plaintiffs

presented no evidence that a mental health evaluation needed to be done as part of the disciplinary

process. Likely for that reason, Plaintiff presented no argument regarding same in this section.

Suffice to say that there is no requirement for a mental health evaluation to be completed as part



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of the disciplinary process in every instance. DWCC’s accommodations as to discipline are further

discussed in Defendants’ treatment of the ADA infra in section V.F.

       As to the proposed remedies in paragraph 106(E) and (H) [Pls. Br., R. Doc. 732, at 50-51],

Plaintiffs presented no evidence that DWCC needs to establish specialized mental health housing.

To the contrary, the evidence is that DWCC will send individuals who decompensate to EHCC,

the facility that provides specialized mental health housing to offenders. [Dauzat Tr. vol. VI at

1263:12-25; Burns Trial 2 Tr. vol. VII at 1625:1-3; see the discussion regarding JG section V.B.5

supra.] This provision is not narrowly tailored or the least restrictive remedy as required by the

PLRA. The lack of specialized mental health housing does not violate the Constitution.

       As to the proposed remedy in paragraph 106(F) [Pls. Br., R. Doc. 732, at 51], DWCC’s

mental health staffing is above constitutional minimum levels. See the discussion of staffing

section V.C.2 supra.

       As to the proposed remedy in paragraph 106(G) [Pls. Br., R. Doc. 732, at 51], Plaintiffs

offered no evidence that DWCC was required to maintain electronic medical records. This

proposal violates the PLRA as it is not narrowly drawn and the least restrictive. The Constitution

does not require that DWCC maintain electronic medical records.

       As to the proposed remedy in paragraph 106(I) [Pls. Br., R. Doc. 732, at 52], Plaintiffs

offered no evidence regarding the need for a quality assurance program at DWCC beyond that

currently in place as DWCC. Further, the Court in Hinds County held that the quality assurance

provisions:

       while helpful, go beyond the minimum standards required by the Constitution. That
       is, although these sections were designed to aid the County in complying with its
       basic obligations, they exceed the Constitutional “floor”…

2022 WL 11112223, at *55.



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         As to the proposed remedy in paragraph 106(J) [Pls. Br., R. Doc. 732, at 52], Dr. Thompson

explained that there was no harm from the earlier distribution of medications. This remedy is not

necessary as there is no risk of serious harm.

     D. Suicide Prevention

         It is stipulated that DWCC does not overuse suicide watch, i.e., the number of suicide

watches is appropriate for the offenders at DWCC. [Ex. JR-60, R. Doc. 669, at 15, ¶77; Burns

Trial 2 Tr. vol. VIII at 1677:23 - 1678:1] It is also stipulated that DWCC does not keep offenders

on suicide watch for too long. [Ex. JR-60, R. Doc. 669, at 15, ¶77] The length of time that DWCC

keeps individuals on suicide watch is consistent with the national average. [Burns Trial 2 Tr. vol.

VIII at 1678:2-4] DWCC does not have a problem with too many completed suicides. [Thompson

Trial 2 Tr. vol. XIV at 3064:12-22; Burns Trial 2 Tr. vol. VIII at 1678:25 - 1679:6] DWCC’s

suicide prevention policy works as there are no instances of completed suicide while an offender

was on suicide watch. 16

         1. DWCC Suicide Prevention Policies and Procedures

         If there is a question of suicide, it is better to err on the side of caution and institute a suicide

watch than taking no action and allowing an offender to commit suicide. [Thompson Trial 2 Tr.

vol. XIII at 2961:20-21; Burns Trial 2 Tr. vol. VIII at 1677:13-20] It is stipulated that DWCC

conducts training annually to all staff with the responsibility of offender supervision in the

implementation of suicide prevention and intervention. [Ex. JR-60, R. Doc. 669, at 14, ¶69]




16
  Mental health observations (“MHO”) are utilized to follow an individual offender more closely who is experiencing
an acute exacerbation of symptoms which is considered temporary by medical professionals. Ex. JR-14 at 6. MHO is
appropriate whenever an individual requires additional observation based on behaviors or expressed stressor which
can include medication side effect, concerns over receiving disturbing information from family members or an
individual just needs to be alone for a period of time. Burgos Trial 2 Tr. vol. IV at 760:1-18. Plaintiffs do not complain
about MHO in their brief.
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       Mental health staff completes a mental health management order (“MHMO”) on each new

suicide watch. [Ex. JR-14 at 4] Within the clinical judgment of the mental health staff, the MHMO

describes the techniques to be used, which property items are permitted, and which property items

are prohibited. [Ex. JR-14 at 4-6; Ex. JR-60, R. Doc. 669, at 14, ¶70] Removing an offender’s

clothing and property while on suicide watch is an appropriate procedure designed to reduce the

risk of completed suicide while an offender is on suicide watch. [Burns Trial 2 Tr. vol. VIII at

1678:5-9] By the later part of 2021, the default is that an offender on suicide watch is allowed to

have a mattress unless there is a reason for taking it. [Burgos Trial 2 Tr. vol. IV at 757:20-23;

Hayden Trial 2 Tr. vol. V at 1033:17-19] Since the Phase I trial, DWCC has purchased new suicide

mattresses [Dauzat Trial 2 Tr. vol. XI at 2428:6] and new protective helmets. [Hayden Trial 2 Tr.

vol. V at 1013:25 - 1014:1]

       An offender on suicide watch is seen and evaluated daily. Mental health staff sees offenders

on suicide watch daily on Monday through Friday; nursing staff sees offenders daily on the

weekends. [Ex. JR-60, R. Doc. 669 at 15, ¶73; Ex. JR-14 at 8] Offenders on suicide watch are also

monitored by the key room officer using the in-cell cameras. [Ex. JR-60, R. Doc. 669, at 2, ¶6]

Offenders on suicide watch receive in-person observation by staff every fifteen minutes and

randomly between intervals. [Ex. JR-14 at 6]

       DWCC now stations trained tier walkers outside of the cell of an ongoing watch to

supplement correctional staff rounds and staff monitoring of the camera in the cell. [Ex. JR-60, R.

Doc. 669, at 14-15, ¶72; Ex. JR-18; Sherman Trial 2 Tr. vol. II at 397:2 - 403:22] Tier walkers

supplement the staff and are an improvement since the Phase I Trial. [Burns Trial 2 Tr. vol. VIII

at 1682:8-13] Dr. Thompson testified that tier walkers were an excellent addition to DWCC’s other

practices. [Thompson Trial 2 Tr. vol. XIII at 2960:12-21] Tier walkers are trained. [Burns Trial 2



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Tr. vol. VIII at 1682:4-5] The ACA has provisions that allow for use of tier walkers. [Burns Trial

2 Tr. vol. VIII at 1685:24 - 1686:1]

           Offenders on extreme suicide watch may only be placed in restraints after a clinical

determination by mental health staff and approval from the medical director. [Ex. JR-14 at 8]

Warden Goodwin is notified of every time an offender is placed on extreme suicide watch.

[Thompson Trial 2 Tr. vol. XIII at 2961:8-11] The utilization of extreme suicide watch decreased

significantly in 2022. [Burns Trial 2 Tr. vol. VIII at 1679:7-10] There were only three instances of

extreme suicide watch between January and May of 2022. [Thompson Trial 2 Tr. vol. XIII at

2961:16-22] 17

           On or around September 2021, DWCC purchased a humane restraint bed and leather

restraints to use on extreme suicide watches when authorized by appropriate medical and mental

health staff. [Ex. JR-60, R. Doc. 669, at 14, ¶71; Ex. PR-K-11] The restraint chair has not been

used since DWCC acquired the humane restraint bed. [Dauzat Trial 2 Tr. vol. VI at 1204:6-9, vol.

XI at 2395:15-17] DWCC did not use the restraint chair at any point in 2022. [Dauzat Trial 2 Tr.

vol. XI at 2394:24 - 2395:4; Burns Trial 2 Tr. vol. VIII at 1680:10-13] The restraint bed has been

used six times since it was acquired in the fall of 2021. [Dauzat Trial 2 Tr. vol. XI at 2396:1-3]

The restraint bed is a good addition. [Thompson Trial 2 Tr. vol. XIII at 2961:12-15]

           Offenders on extreme suicide watch are assessed upon initiation of suicide watch and at

least every 12 hours thereafter. [Ex. JR-60, R. Doc. 669, at 15, ¶74] Offenders on extreme suicide

watch are stepped down to standard suicide watch. [Ex. JR-60, R. Doc. 669, at 15, ¶74] The mental

health staff at DWCC decides when to end a suicide watch. [Ex. JR-60, R. Doc. 669, at 15, ¶75]

The most important factor in terminating suicide watch is the clinical decision of the mental health



17
     See Exs. PR-E-23 at 83, PR-E-24 at 88, and PR-E-26 at 61.
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staff based upon the report of the offender and knowing the offender. [Thompson Trial 2 Tr. vol.

XIII at 2962:17 - 2963:11] The single most important piece of information is whether the offender

tells you that he is actively planning on harming himself. [Thompson Trial 2 Tr. vol. XIII at

2963:12-16]

         Upon termination of suicide watch, mental health staff evaluates the offender within seven

days. [Ex. JR-60, R. Doc. 669, at 15, ¶76] Plaintiffs have not identified a single instance where an

individual failed to receive a seven-day follow-up after coming off of suicide watch. [Burns Trial

2 Tr. vol. VIII at 1678:21-24]

         Plaintiffs presented evidence of suicidal behavior of a number of offenders over 27

months. 18 Dr. Thompson listened intently to the testimony and took good notes regarding the

suicidal behaviors presented by the Plaintiffs. [Thompson Trial 2 Tr. vol. XIII at 2948:7-14] Dr.

Thompson testified that the number of suicidal behaviors was reasonable. [Thompson Trial 2 Tr.

vol. XIII at 2955:2-9] Dr. Thompson’s opinion remains unrefuted.

         2. Completed Suicides

         Over the last seven years, DWCC has had two completed suicides. DWCC does not have

a problem with too many completed suicides. [Thompson Trial 2 Tr. vol. XIV at 3064:12-22;

Burns Trial 2 Tr. vol. VIII at 1678:25 - 1679:6]

         Plaintiffs complain of an alleged delay in responding to JB’s competed suicide. The

Plaintiffs did not demonstrate crucial information about the incident to actually support their

complaints. For instance, the officer with the camera was not the first officer at the scene. As such,

the camera does not record whether or not the first officer had activated the beeper and radioed for

help. One can conclude that he did because the ranking officer (with the camera) and a second


18
  As to the Court’s concern that these were the only instances of suicidal behavior, it was incumbent on the Plaintiffs
to show that there were more, if there were in fact more. The evidence consists solely of these events.
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individual (discussed below) respond in under a minute. While DWCC policy permits a single

correctional officer to enter a cell in an emergency, it does not require it. [JR-14 at 9] The Plaintiffs

also failed to identify the persons in the video and whether any of them was part of the medical

response team. 19 The video alone is insufficient as proof of any failure by DWCC.

         In Anderson v. Dallas Cty. Tex., 286 F. App’x 850, 862 (5th Cir. 2008), the plaintiffs argued

the jail was liable because the first responders did not immediately perform CPR. The Fifth Circuit

rejected a theory of deliberate indifference on the basis that the jail’s policies related to suicide

were “not strictly followed” when CPR was not rendered (the Fifth Circuit assumed arguendo that

CPR was not performed until paramedics arrived and that the failure to perform CPR contributed

to the death). Here, the Plaintiffs acknowledge that DWCC has a policy governing the response to

a suicide attempt or completion. 20 The Plaintiffs adduced no expert testimony that DWCC did not

comply with its policy. Even if they had such testimony, one instance of an alleged violation of

policy (which is denied), does not support a class action claim of deliberate indifference.

         3. The Tier Walker Program

         Defendants addressed the tier walker program in the section above addressing DWCC’s

suicide policies and procedures. The tier walker program, enacted consistent with the ACA, does

not violate the Constitution.




19
   Nurse Joel Williams is one of the first to respond on the video, under a minute from the beginning of the video. He
is known to the Court having appeared before it to testify in this matter on February 1, 2022. Williams Trial 1 Tr. vol.
XVI at 3804-3836.
20
   The parties stipulated that DWCC has in the keyrooms of N1, N2, N3, and N4 suicide kits containing the following
items: 1) an Airway protection device; 2) Non-sterile protective gloves; 3) Pocket masks for rescue breathing; 4) Large
Paramedic shears; 5) Bandage scissors; 6) Blood stopper compression bandages; and 7) a Hoffman Medical Rescue
tool. Ex. JR-60, R. Doc. 669, at 14, ¶68.
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       4. Response to Plaintiffs’ Proposed Remedies on Suicide Prevention

       Defendants submit that the evidence of suicidal behavior adduced by the Plaintiffs shows

that DWCC staff is appropriately intervening and preventing suicidal behavior. While Defendants

provide mental health care to offenders at DWCC, the United States Supreme Court stated that:

       No decision of this Court establishes a right to the proper implementation of
       adequate suicide prevention protocols. No decision of this Court even discusses
       suicide screening or prevention protocols.

Taylor v. Barkes, 575 U.S. 822, 826, 135 S. Ct. 2042, 2044 (2015); see also Anderson, 286 F.

App’x at 862.

       Plaintiffs’ simply want a different suicide prevention policy, that is, one that Dr. Burns

prefers. The Plaintiffs are not entitled to their preferred policy. Dockery, 443 F. Supp. 3d at 742,

aff’d, 7 F.4th 375. The Defendants are not ignoring suicide risk and have policies to address it. To

the contrary, the evidence is that DWCC’s suicide prevention policy is working. Plaintiffs

presented no evidence that DWCC has ever had a completed suicide while an offender was on

suicide watch. No evidence supports a finding that DWCC’s suicide watch policies are deliberately

indifferent. None of Plaintiffs’ proposals in paragraph 118 [Pls. Br., R. Doc. 732, at 56-58] are

necessary, as there is no constitutional violation.

       As to the proposed remedy in paragraph 118(A) [Pls. Br., R. Doc. 734, at 56], there is no

need to eliminate extreme suicide watch, as it is necessary in rare instances to prevent harm to an

offender. Eliminating extreme suicide watch creates a risk of harm (even death), rather than

eliminating a risk of harm.

       Plaintiffs’ proposed remedy in paragraph 118(B) [Pls. Br., R. Doc. 732, at 56] is contrary

to the testimony and would weaken DWCC’s suicide prevention practices. Both Dr. Thompson

and Dr. Burns testified that one should err on the side of caution and that there is a low bar for

placing a person on suicide watch because it is difficult to know when a person is an actual threat
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to commit suicide. [Thompson Trial 2 Tr. vol. XIII at 2961:20-21; Burns Trial 2 Tr. vol. VIII at

1677:13-20] The proposal that the staff simply observe an offender and that only a psychiatrist or

medical doctor can place the offender on suicide watch is contrary to the expert testimony. It is

stipulated that the mental health staff evaluate an offender on standard suicide watch at least every

24 hours. [Ex JR-60, R. Doc. 669, at 15, ¶73] Again, Plaintiffs’ proposal poses a risk of harm to

the offenders represented in this class action.

       The proposed remedy in paragraph 118(C) [Pls. Br., R. Doc. 732, at 56] is again contrary

to testimony and would weaken DWCC’s suicide prevention practices. The professional judgment

of the mental health staff as to when to institute suicide watch and the conditions of suicide watch

must prevail. Dr. Burns testified that removing clothing during suicide watch is appropriate. [Burns

Trial 2 Tr. vol. VII at 1678:5-8] In Anderson, 286 F. App’x at 863, the plaintiffs argued the jail

was liable because the jail did not remove the offender’s clothing. While the Fifth Circuit rejected

the claim, Anderson demonstrates the risk of allowing offenders to keep their clothing.

       As to the proposed remedy in paragraph 118(D) [Pls. Br., R. Doc. 732, at 56], there was

no testimony that DWCC’s use of tier walkers to supplement staff observation was insufficient to

comply with the alleged need for constant observation. There was no testimony that a person had

to be seen within two hours of being placed on constant observation as being the minimum

necessary to comply with the Constitution. Plaintiffs’ proposal for constant observation is merely

their preferred practice, to which they are not entitled.

       As to the proposed remedy in paragraph 118(E) [Pls. Br., R. Doc. 732, at 56], the proposal

is not clear whether a staff member must be present at all times or whether direct observation at

least every 15 minutes is acceptable. Dr. Burns’ testimony is that close watch is “not under

continuous observation.” [Burns Trial 2 Tr. vol. VII at 1587:14-17] DWCC uses tier walkers and

in-cell cameras for continuous observation. Nothing further is required by the Constitution.
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         As to the proposed remedy in paragraph 118(F) [Pls. Br., R. Doc. 732, at 56], there is no

evidence that cameras are used as a substitute for observation and periodic checks. Thus, this

proposed remedy is not required.

         As to the proposed remedy in paragraph 118(G) [Pls. Br., R. Doc. 732, at 56-57], there was

no evidence that suicide watch should not last more than 72 hours. To the contrary, Dr. Burns

testified many systems allow suicide watch for up to seven days. [Burns Trial 2 Tr. vol. VII at

1592:14-15] The evidence is only that DWCC does not keep offenders on suicide watch for too

long a period of time. [Burns Trial 2 Tr. vol. VII at 1678:2-4] The suggestions regarding treatment

team meetings and modifications to the treatment plan are Plaintiffs’ preferred practices. No

remedy is necessary to bring DWCC in compliance with the constitutional minimum standards.

         As to the proposed remedy in paragraph 118(H) [Pls. Br., R. Doc. 732, at 57], all of these

proposals are Plaintiffs’ preferred practices. For instance, Plaintiffs want DWCC to provide a

“turtle suit” for suicide watch. However, Dr. Burns testified that an offender on suicide watch is

provided a suicide resistant smock or a paper gown. [Burns Trial 2 Tr. vol. VIII at 1678:8-9]

Warden Dauzat testified that paper gowns are used because it reduces the opportunity to use the

garment to complete a suicide and that the suicide smock makes the offenders too hot. [Dauzat Tr.

vol. XI at 2396:13 - 2397:11] The evidence is that DWCC now provides a suicide mattress unless

there is a reason not to do so. There is no evidence supporting a Constitutional requirement to

install suicide-resistant flooring and create suicide resistant cells. There is no evidence that suicide

watches occur in a “therapeutic” setting. These remedies should be rejected because DWCC’s

suicide watch policies work. No suicides have been completed while an offender was on suicide

watch.

         The proposed remedy in paragraph 118(I) [Pls. Br., R. Doc. 732, at 57] that offenders on

suicide watch should be allowed unimpeded access to the telephone is naïve and
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counterproductive. This proposal would incentivize offenders to endorse suicide ideation (which

should be honored in an abundance of caution) to obtain unimpeded access to the telephone. 21 This

proposal would have negative consequences and is neither narrowly tailored nor the least

restrictive to comply with the Constitution.

         As to the proposed remedy in paragraph 118(J) [Pls. Br., R. Doc. 732, at 57], mental health

staff or nurses on the weekend do in fact meet with offenders on suicide watch daily. [Ex. JR-60,

R. Doc. 669, at 15, ¶73] The Constitution requires nothing more.

         As to the proposed remedy in paragraph 118(K) [Pls. Br., R. Doc. 732, at 57], DWCC

already steps down offenders from extreme suicide watch to standard suicide watch. The

Constitution requires nothing more.

         As to the proposed remedy in paragraph 118(L) [Pls. Br., R. Doc. 732, at 58], there was no

testimony regarding the need for treatment teams in response to suicide ideations. The proposed

detail within 48 hours of an offender being placed on suicide watch is not required by the

Constitution and is prohibited by the PLRA. See Hinds County, 2022 WL 1112223. Plaintiffs’

proposal that DWCC must use suicide risk assessment forms is not necessary, i.e., not the least

restrictive or narrowly tailored. Dr. Thompson testified that the most important factor in deciding

to remove someone from suicide watch is the professional judgment of the mental health staff,

relying upon the report of the offender. [Thompson Trial 2 Tr. vol. XIII at 2962:17 - 2963:11] Risk

assessments that are so complicated that it can take 45 minutes to complete have not been shown

to be effective—the mental health staff still has to rely upon what the offender says and knowing




21
   Upchurch offered some testimony to this effect when he testified that there has to be a difference between the
privilege levels and the things that are comfortable in general population versus restrictive housing. Upchurch Trial 2
Tr. vol. XII at 2749:4-9. Plaintiffs’ proposal would actually create more privileges, i.e., unlimited telephone use, which
creates an incentive for offenders to be on watch, making clinical judgment on these watches much more difficult.
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the offender well enough to make a good decision. [Thompson Trial 2 Tr. vol. XIII at 2963:7-11]

The evidence shows no issue with DWCC’s suicide risk assessments.

       As to the proposed remedy in paragraph 118(M) [Pls. Br., R. Doc. 732, at 58], there was

no testimony that mental health is required to follow up with an offender daily for five days and

then on the tenth day following a suicide watch.

       Based on the record, suicide watch at DWCC is not constitutionally deficient. Plaintiffs’

proposals for suicide prevention are their preferred practices. Even if the policies were found to be

deficient, Plaintiffs’ proposals are not narrowly tailored or the least restrictive under the PLRA.

   E. Use of Force and Restraints

       1. Evidence on Use of Force and Restraints

       Use of Force incidents at DWCC are reviewed by the Unit Manager, Col. Vincent

Coleman. Use of Force incidents are documented on UORs and are reported by DWCC to DPS&C

in the monthly C-05 report. [see, e.g., PR-E-12 at 10] Correctional officers turn on their body

cameras when the use of chemical spray or other use of force is anticipated. [JR-9 at 3-4]

       Every Monday, buildings N1-N4 are provided lists of offenders with serious mental illness

in their housing locations (the “SMI List”). [Coleman Trial 2 Tr. vol. I at 28:18-23; Robinson Trial

2 Tr. vol. IX at 2031:11 - 2032:7; Dauzat Tr. vol. VI at 1279:8 - 1280:3] The SMI List is consulted

by correctional officers prior to planned uses of force. An individual on the SMI List is

accommodated by having mental health staff (or medical staff if mental health is unavailable)

respond to incidents prior to a planned use of force when time allows.

       Plaintiffs cite in alleged support that DWCC is not calling medical or mental health staff

prior to a use of force [Pls. Br., R. Doc. 732, at 59] an incident with JF that occurred on Sunday,

April 10, 2022. [Coleman Trial Tr. vol. I at 37:10-39:7; JR-9 at 6(D)(3)(b)(3)] First, Plaintiffs

improperly describe the policy requirements by stating evidence showed uses of force prior to the
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mental health department being called. The policy actually requires that medical or mental health

staff be contacted prior to the use of force “whenever possible.” [JR-9 at 6(D)(3)(b)(3)] The Court

took judicial notice that this date was a Sunday. [Coleman Trial Tr. vol. I at 132:1-11] Col.

Coleman testified that medical staff (a nurse) would be called to intervene with an offender when

mental health staff are not at the facility. [Coleman Trial Tr. vol. I at 132:13 - 133:7]

        Plaintiffs’ evidence starts in the middle of this incident when Major Young responds to

Captain Kidd. Plaintiffs did not demonstrate that Captain Kidd failed to contact medical staff prior

to using force on JF. Tellingly, the Plaintiffs did not put before the Court the report of the preceding

incident with Captain Kidd, that Major Young was responding to in PR-C at 964-965. Plaintiffs

failed to do this despite having identified that report as an exhibit in the pretrial order. That context

is in evidence at PR-E-26 at 132-133 which shows that JF had an intervention with the nurse prior

to any use of force.

        Plaintiffs also cite an incident with TD that occurred on March 22, 2021 in N1A, which

was a COVID quarantine unit at this time. [JR-60, R. Doc. 669, at 3, ¶14] While in the quarantine

unit, DWCC correctional officers had to use force to stop TD from harming himself by banging

his head on the wall and top bunk. [PR-M-1 at 33] DWCC’s Use of Force Policy allows for the

use of chemical agents to prevent serious injury. [JR-9 at 7(G)(2)]

        Similarly, DWCC’s correctional officers intervened on CB to prevent him from harming

himself. Finally, the Plaintiffs cite an incident with JM where chemical agents were not used.

Plaintiffs state in their brief that chemical spray was used, despite such a characterization being

contrary to the plain language of the exhibit and the testimony. [Coleman Trial Tr. vol. I at 94:15

-95:16; PR-C-1 at 820-821 (chemical agents not checked off as used and not reported as used in

the narrative on the following page)] This represents a failure of proof.

        Plaintiffs’ citation to PR-D-33, an incident with JG, is discussed supra at Section V.B.5.
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        2. Response to Proposed Remedies on Use of Force and Restraints

        First, Plaintiffs requests as to use of force in general are not properly before this Court as

this case is about offenders in Restrictive Housing with mental illness. As to Plaintiffs’ proposed

relief that is actually related to offenders with mental illness, none of it is supported by the record.

Despite having access to all UORs related to uses of force [Pacholke Trial 2 Tr. vol. III at 589:8-

11], Mr. Pacholke offered no opinions on specific instances, and Plaintiffs’ brief contains no

citations to his testimony on these points.

        As to the proposed remedies in paragraph 124(A) and (B) [Pls. Br., R. Doc. 732, at 60],

Plaintiffs adduced no expert testimony about any use of force at DWCC over the time period in

question or the quality of training which is currently provided. As such, there is no basis to order

additional training. There is no testimony regarding deficiencies in tracking uses of force, and

DWCC already has a uniform reporting system.

        As to the proposed remedies in paragraph 124(C) and (F)-(J) [Pls. Br., R. Doc. 732, at 60-

62], the Plaintiffs do not define what would be a “use of force” and have no basis to curtail state

authority to promote offender, staff, and public safety. Prison officials are accorded the widest

possible deference in the application of policies and practices designed to maintain security and

preserve internal order. See Berry v. Brady, 192 F.3d 504, 508 (5th Cir. 1999); Tasby v. Cain, No.

16-277, 2017 WL 4295441, at *7 (M.D. La. Sept. 12, 2017), report and recommendation

adopted, 2017 WL 4322413 (M.D. La. Sept. 28, 2017). DWCC already uses body cameras to

capture planned uses of force, attempts to de-escalate prior to using force, and calls mental health

or medical to respond when time permits.

        As to the proposed remedies in paragraph 124(E) [Pls. Br., R. Doc. 732, at 61], Dr. Burns’

criticisms of restraints do not support a claim of deliberate indifference. Dr. Burns simply gave her

opinion and did not point to any national standards on the use of restraints. No systemic issue has
                                                  61
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been proven. The Plaintiffs then take two paragraphs of facts they believe they have proved [Pls.

Br., R. Doc. 732 at 59-60], and touch wholly new areas, such as whether some maximum custody

offenders should not be restrained when leaving their cell. Neither Mr. Pacholke nor Dr. Burns

provided testimony that there should be a separate restraint policy for different classes of

maximum custody offenders such as what is embraced in this proposal. Plaintiffs have a complete

failure of proof on their use of force and restraint proposals.

   F. Americans with Disabilities Act and Rehabilitation Act Claims

       The ADA is not meant to be an “end run” around Eighth Amendment cases. Bryant v.

Madigan, 84 F.3d 246, 249 (7th Cir. 1996). Neither the ADA nor the RA applies to claims

regarding the quality of mental health services. See Smith v. Harris Cty., Tex., 956 F.3d 311, 318

n.1 (5th Cir. 2020) (“the ADA does not typically provide a remedy for negligent medical

treatment.”); Atkins v. Cty. of Orange, 251 F. Supp. 2d 1225, 1232 (S.D.N.Y. 2003); Simmons v.

Navajo Cty., Ariz., 609 F.3d 1011, 1022 (9th Cir. 2010), overruled on other grounds by Castro v.

Cnty. of Los Angeles, 833 F.3d 1060 (9th Cir. 2016) (en banc) (“The ADA prohibits discrimination

because of disability, not inadequate treatment for disability.”); Bryant, 84 F.3d at 249 (the ADA

is not “violated by a prison’s simply failing to attend to the medical needs of its disabled prisoners”

where no discrimination is alleged). Similarly, a claim that challenges the adequacy or the

substance of services that are provided to a disabled individual is not a valid claim under either the

ADA or the RA. Maccharulo v. N.Y. St. Dep’t of Corr. Servs., No. 08-301, 2010 WL 2899751, at

*3 (S.D.N.Y. July 21, 2010); Atkins, 251 F. Supp. 2d at 1232.

       Prior to the first trial, Defendants filed a motion for summary judgment citing this law and

arguing that Plaintiffs’ claims were really claims under the Eighth Amendment, not ADA or RA

claims. This Court noted that “[i]t is possible that Plaintiffs are merely re-packaging their Eighth

Amendment claims and that Plaintiffs have not stated a claim under the ADA or RA in this regard.”
                                                  62
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[R. Doc. 516 at 16] Defendants suggest that Plaintiffs’ three pages of ADA and RA briefing shows

that this claim is really subsumed under the Eight Amendment claims.

         DWCC screens for ADA issues and accommodates them. For example, since the

implementation of IS-B-4, DWCC disciplinary boards are now made up of three members, a

security staff member, a classification officer, and a third member from a department other than

security or classification. The Disciplinary Board can refer cases to mental health rather than

prosecute rules violations after review of the nature of the incident or, if indicated, in response to

the initial contact with the offender at the Board. In addition to the Disciplinary Board’s power to

refer the case to Mental Health, Mental Health staff can also intervene in disciplinary cases as

appropriate. 22 [Kimball Tr. vol. II at 304:23 - 305:13, 307:13 – 309:22, 328:13 - 330:14; Hayden

Trial 2 Tr. vol. V at 1104:8-13]

         Additionally, offenders with serious mental illness are identified by a list posted in the key

rooms of N1-N4. To accommodate offenders with serious mental illness, mental health is

contacted prior to uses of force on these offenders if circumstances allow. [Coleman Trial 2 Tr.

vol. I at 28:18-23; Dauzat Trial 2 Tr. vol. VI at 1279:8 - 1280:3] Also, heat precaution duty statuses

for offenders on certain psychotropic medications are ordered by medical or mental health staff

and a list of offenders on this status is sent every Monday from May 1 through October 31 to

buildings N1-N4. [Ex. JR-21 at 2; Dauzat Trial 2 Tr. vol. VI at 1280:10-20; Robinson Trial 2 Tr.

vol. IX at 2029:13-19]

         DWCC maintains files on requests for accommodation that include the request,

documentation of the interview with the offender, documentation related to the investigation such



22
   This can be done by not giving an offender a rule violation in the first instance, not processing a rule violation to go
before a disciplinary board, deferring a disciplinary board hearing pending mental health evaluation, and dismissing
a rule violation found to be the result of mental health difficulties. Kimball Trial 2 Tr. vol. II at 304:23 - 305:13,
307:13 - 309:22, 328:13 - 330:14.
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as a response from medical or mental health, and the documented decision and rationale. [Ex. JR-

59] These files demonstrate the detailed review and consideration given to all requests for

accommodations submitted to DWCC.

       One example of this detailed review is that of SF who submitted a written “Request for

Accommodation” in June 2020 seeking special heat accommodations due to his medications. [Ex.

JR-59 at 17] DWCC investigated the request and determined that his medications did not call for

a heat duty status, and he was informed in writing that his request was denied. [Ex. JR-59 at 16]

DWCC fully investigated the matter and completed the six-page assessment form required by DOC

headquarters in evaluating requests for accommodations. [Ex. JR-59 at 18-23] Thus, DWCC does

have an adequate process in place to identify, review, and dispose of ADA claims.

       Moreover, Defendants do not discriminate against individuals with mental illness in the

South Compound. Each such offender receives that same treatment options as any other offender

located in Restrictive Housing, including: (1) visits with DWCC’s contract psychiatrist; (2)

individual counseling with mental health clinicians since they cannot attend group programming;

(3) written program materials to work on individually and discuss with their clinicians; and (4)

inmate tutors to assist them in their educational and mental health work. [Sherman Trial 2 Tr. vol.

II at 375:9 - 380:21]

       Plaintiffs’ remedy proposals in paragraph 130 [Pls. Br., R. Doc. 732, at 64-65] are generic

restatements of the law and obligations the law imposes on DWCC under the ADA and RA.

Plaintiffs have identified nothing that requires issuance of an injunction.

       As to the proposal in paragraph 130(A) [Pls. Br., R. Doc. 732, at 64-65], Plaintiffs seek to

require DWCC to make all programs associated with the general population available to offenders

with disabilities. No such requirement exists in law. Disciplinary action taken as a result of

misconduct is not discrimination based upon a disability as to mental health. Offenders with
                                                 64
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disabilities are potentially entitled to accommodations in Restrictive Housing; they are not entitled

to enjoy all of the programs available to offenders in general population prior to being housed in

general population. This proposal is not required to comply with the ADA or RA.

           The proposal in paragraph 130(B) [Pls. Br., R. Doc. 732, at 65] states that DWCC shall not

provide offenders with disabilities with opportunities that are unequal to those afforded to inmates

who do not have disabilities. DWCC is not discriminating against offenders with disabilities. As

set forth above, mental health is considered at every step, from the initial Disciplinary Board,

through punishment for rules violations, and classification boards to become eligible for general

population. Nothing more is required.

           As to the proposal in paragraph 130(C) [Pls. Br., R. Doc. 732, at 65], the evidence is that

DWCC has a system in place for offenders to make requests for accommodations, either in writing

or verbally, and that DWCC does in fact track and monitor the requests. The evidence presented

shows a process for inmates with any qualifying disability to request reasonable accommodations.

Offenders may make accommodation requests verbally, by written letter, or by using the well-

known ARP process. [Ex. PR-BB-1, Acklin Dep., at 14:18-23, 15:2-7, 38:18 - 39:19] ADA

accommodations at DWCC are most often handled without the need for a written offender request

based on an offender’s classification, staff observation, or an offender’s inquiry. [Ex. PR-BB-1,

Acklin Dep., at 38:8 - 39:19 23] DWCC’s medical, mental health, classification, and security staff

actively review offenders at the facility to determine individual needs and appropriate

accommodations. [Ex. JR-11 at 3-4] The ADA requires no more.




23
     Edited Deposition Transcripts are cited to the transcript page as opposed to the pdf page.
                                                            65
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        As to the proposal in paragraph 130(D) [Pls. Br., R. Doc. 732, at 65], DWCC does in fact

consider an offender’s disability throughout the disciplinary process, as explained in detail above.

Nothing more is required.

        As to the proposal in paragraph 130(E) [Pls. Br., R. Doc. 732, at 65], DWCC does in fact

train its staff. The Court’s prior ruling said nothing about inadequate training on the ADA. Nothing

more is required.

        The evidence demonstrates that DWCC does have an adequate process in place for

offenders with mental illness to make requests for accommodations under the ADA/RA. It also

shows that DWCC has a well-defined process to investigate requests for accommodations and to

provide written notice to the offender of the disposition of the request. Moreover, the offender is

allowed to appeal to DPS&C headquarters if he is dissatisfied with the disposition. The evidence

also shows that offenders with mental illness are not discriminated against because of their

condition. They are afforded the same programs and services that are available to other offenders.

Plaintiffs’ ADA/RA claims should be denied.

    G. Monitoring

        Defendants oppose the appointment of a special master or monitor as unnecessary and

contrary to the limitations set out by the PLRA.

        Appointment of a special master or monitor in the context of prison litigation is governed

by the PLRA. 18 U.S.C. § 3626. The PLRA substantially limited the capacity of federal courts to

appoint special masters to oversee prison conditions, specifically to ensure compliance with the

Eighth Amendment. Webb v. Goord, 340 F.3d 105, 111 (2d Cir. 2003). The PLRA provides that a

court may not grant prospective relief at all – “let alone appoint a special master to administer a

state prison system” – unless the court finds that such relief meets the standard set out in the statute.

Id. That means the relief must be narrowly drawn, extend no further than necessary to correct the
                                                   66
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violation of the federal right, and be the least intrusive means necessary to correct the violation of

the federal right. Id.; 18 U.S.C. § 3626(a)(1)(A).

       Within the Fifth Circuit, a district court denied a temporary restraining order and

preliminary injunction filed by prison inmates that requested a special master be appointed to

assume control of day-to-day operations of the prison. Amos v. Hall, No. 20-7, 2020 WL 6791516,

at *1 (N.D. Miss. Jan. 24, 2020). The district court noted that the PLRA has substantially limited

the capacity of federal courts to appoint special masters to oversee prison conditions. Id. (citing

Webb, 340 F. 3d at 111). Additionally, the district court stated that it is “incumbent upon a plaintiff

to support a request for such relief with relevant authority and argument.” Id.

       The Tenth Circuit followed the Second Circuit’s lead in affirming a district court’s denial

of a prison inmate’s preliminary injunction that requested the appointment of a court advocate to

oversee prison operations. Center v. Lampert, 726 Fed. App’x 672, 676 (10th Cir. 2018) (citing

Webb, 340 F. 3d at 111). The plaintiff failed to provide support for the court’s authority to appoint

such an advocate. Id.

       In support of their request to appoint a monitor, the Plaintiffs point to the alleged problems

with the C-05 reports and suicide gestures or attempts. Warden Dauzat explained that DWCC took

steps to fix the problem in reporting once the issue came to light at her deposition. [Dauzat Trial 2

Tr. vol. XI at 2409:2 - 2413:11, 2417:9 - 2423:9] Plaintiffs misconstrue Secretary LeBlanc’s

testimony. Secretary LeBlanc testified that information regarding DWCC’s use of Restrictive

Housing is available and can be provided. [J. LeBlanc Trial 2 Tr. vol. X at 2153:16 - 2154:1]

       The appointment of a special master or monitor as relief in this matter is not narrowly

drawn, extends further than necessary to correct the violation of Plaintiffs’ federal rights, and is

not the least intrusive means necessary to correct such violations, as required by the PLRA.



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VI.      PLAINTIFFS  HAVE    FAILED   TO   SHOW                                         ANY         SYSTEMATIC
         CONSTITUTIONAL DEFICIENCIES AT DWCC

         Plaintiffs have failed to show a systematic failure to provide mental health care at DWCC.

From March 2020 through May 2022 (27 months), the mental health staff at DWCC had 7,923

contacts and 1,727 psychiatric contacts. 24 According to the mental health face sheets, 128 LOC 3

and LOC 4 individuals were assigned to Restrictive Housing at some point between July of 2021

and July of 2022. After requesting records that they chose, Plaintiffs identified trial exhibits for 38

non-randomly selected offenders consisting of 15,246 pages. [PR-B-1 through PR-B-38] Plaintiffs

introduced into evidence only 104 pages of the 15,246 pages identified for trial. 25 Defendants

contend that there should be an adverse presumption against the Plaintiffs that the remainder of

the individual records that they identified over Defendants’ objections are adverse to the Plaintiffs

and favorable to the Defendants.

         Given the dearth of documentary support introduced by the Plaintiffs, a sound sampling

methodology is required to extrapolate from a sample to the whole of Restrictive Housing. Neither

the Plaintiffs nor their experts employed a valid sampling methodology. Plaintiffs tacitly

acknowledge this major flaw in their methodology through the attempt to have their experts

characterize their interview selections as “random,” when those selections are definitively not

“random” for the purposes of sampling. [Pacholke Trial 2 Tr. vol. III at 495:16 - 496:2, 563:6-19;

Burns Trial 2 Tr. vol. VII at 1527:2-14; Haney Trial 2 Tr. vol. X. at 2179:24 - 2180:11 (Dr. Haney




24
   C-05 Reports from March 2020-May 2022, PR-E-1 at 101; PR-E-2 at 73; PR-E-3 at 203; PR-E-4 at 188; PR-E-5 at
97; PR-E-6 at 148; PR-E-7 at 133; PR-E-8 at 103; PR-E-9 at 86; PR-E-10 at 97; PR-E-11 at 122; PR-E-12 at 115; PR-
E-13 at 79; PR-E-14 at 59; PR-E-15 at 114; PR-E-16 at 79; PR-E-17 at 145; PR-E-18 at 188; PR-E-19 at 59; PR-E-
20 at 75; PR-E-21 at 63; PR-E-22 at 112; PR-E-23 at 83; PR-E-24 at 88; PR-E-25 at 62; PR-E-26 at 61; PR-E-27 at
164.
25
   Absolutely no records were introduced into evidence on twelve of the offenders. Plaintiffs pointed to a form with
no substantive discussion for another five offenders. See for instance the reference to BA to merely identify a screening
form. Another seven of the records were identified solely with regard to suicide behavior. There were only five records
that received any substantive discussion at all.
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uses the word “random” or a variation three times.) at 2317:2-6 (admits not using a statistical

method); compare with Thompson Trial 2 Tr. Vol. XIII at 3007:2-20, 3008:18 - 3009:4]

        Instead of random sampling, Plaintiffs’ experts, like the attorneys in discovery, simply

identified offenders they thought supported their litigation position, tainting their findings with

bias that makes their sample unreliable. Even by solely selecting records to present to the Court

that gave a slanted and unreliable view of DWCC, there were very few records upon which the

Plaintiffs’ attempted to build their case.

        The problems with Plaintiffs’ experts’ methodology extend past the failure to properly

sample. Plaintiffs’ experts failed to determine crucial objective issues in this case. For instance,

Plaintiffs’ experts did not do any research to determine how many offenders with serious mental

illness were in Restrictive Housing. [Pacholke Trial 2 Tr. vol. III at 532:22 - 533:2; Burns Trial 2

Tr. vol. VIII at 1718:9-13; Haney Trial 2 Tr. vol. X at 2294:19-23] Dr. Haney made no effort to

determine the average length of time offenders at DWCC spend in Restrictive Housing. [Haney

Trial 2 Tr. vol. X at 2305: 9-15.] 26 Dr. Burns made no effort to determine whether two suicides at

DWCC over any time period were too high compared to other institutions. [Burns Trial 2 Tr. vol.

VIII at 1678:25- 1679:6] Mr. Pacholke’s report did not contain a single citation to any individual’s

records in support of his opinions. [Pacholke Trial 2 Tr. vol. III at 565:14-16] Mr. Pacholke did

not review or compile any statistics in support of his opinions. [Pacholke Trial 2 Tr. vol. III at

568:13 - 569:12] Mr. Pacholke did nothing to verify any of the statements he cites in support of

his opinion. [Pacholke Trial 2 Tr. vol. III, 569:13-18]

        Similar to Dr. Burns changing her opinion on staffing in an attempt to deny DWCC’s

compliance with her previous opinion (discussed in section V.C.2 supra), Mr. Pacholke engaged


26
  Mr. Pacholke agreed that the duration someone spends in a Restrictive Housing or segregated environment is a
consideration you have to look at. Pacholke Trial 2 Tr. vol. III, 586:5-8.
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in a similar tactic with respect to ACA accreditation. Mr. Pacholke had previously used the 5th

Edition ACA Standards as a basis to say that DWCC was deficient, 27 and, now that DWCC is

compliant with the 5th Edition ACA Standards, Mr. Pacholke attacks the standards and

accreditation process themselves. [Phase I Expert Report of Pacholke 1/11/21, P-FFF-1 at 18, 23,

45; Pacholke Trial 2 Tr. vol. III at 601:6-19; Burns Trial 2 Tr. vol. VIII at 1692:23 – 1693:1]

VII.    CONCLUSION

        For all of the foregoing reasons, Defendants respectfully pray that the Court find that no

remedy is necessary to address any perceived constitutional deficiencies, considering the

limitations of the PLRA.

                                                 Respectfully Submitted:

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                                                 Counsel for Defendants



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  DWCC was not required to become compliant with the 5th Edition ACA standards at the time of Mr. Pacholke’s
Phase I report, as its next accreditation was not until 2022.
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                                CERTIFICATE OF SERVICE

         I hereby certify that on the 14th day of April 2023, I electronically filed the foregoing
pleading with the Clerk of Court using the CM/ECF system which will send a notice of electronic
filing to all counsel of record.

                                       /s/ Randal J. Robert
                                         Randal J. Robert




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